      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 1 of 86 PAGEID #: 4810




                        STATE OF OHIO,                      • 1       ,   1   ,   f      ~      ~ :- t
                                                   J.       1: •              L' '    ... . '            ~
                                                     ._, ITL• Fl.., r·l"' I JT -:'
                                                     t, •.;           ' J" •
                               Plaintiff,          I ' '.   R!"\ [l J7 crt i -~, ~ :~
                                                                  •                                          Case No. CR 1983-12-0614

                        vs.


                       VONCLARKDAVIS                                                                         Judge Nastoff

                               Defendant.




                                               DEFENDANT'S MOTION IN LIMINE



                                NOW COMES Defendant, by and through his undersigned counsel, and, who
                        files a Motion in Limine as to evidence the Prosecutor may be intending to introduce in
                       the instant case which is set for a Mitigation Hearing Trial beginning May 11, 2009.
                       Specifically, the defense requests an Order directing that the State of Ohio shall not be
                       allowed to introduce additional evidence and will not be allowed to introduce evidence
                       beyond the fact and document which is the Defendant's Judgment Conviction Entry
                       from the 1971 conviction for the prior purposeful murder which occurred in 1970. The
                       only capital specification in this case is that prior purposeful murder.
                                In the past couple of weeks, the Prosecutor has filed Supplemental Discovery
                       listing documents and evidence. Furthermore, as to one piece of supplemental
                       discovery, the Prosecutor contacted undersigned counsel to determine if she would
                       stipulate to the Coroner's Records or whether the defense would require the State to
                       bring in a witness from the Coroner's office. Defense Counsel Porter returned their call
                       and was advised that they State was seeking this stipulation as to the 1970 murder
                       records which would be coming in from the Coroner's Office. Obviously, undersigned
                       counsel's responded that we would not stipulate to new evidence being presented at our
                       client's Mitigation Trial. In addition, the Prosecutor has listed witnesses in its discovery
                       which appear to pertain solely too evidence pertaining to the 1970 prior murder, Case
                       number 21655, Butler County Ohio Common Pleas, such as listing Butler County
                       Commissioner Charles "Chuck" Furman, the lead Detective in the 1970 case, as a
Repper, Pagan,         witness and a Coroner's diagram and an amended diagram of the victim in the 1971
Cook, Ltd.
Attorneys at Law       conviction.
1501 First Avenue
Middletown, OH 45044
                               Based upon that conversation had with the Prosecutor and the continued
Phone: 513 .424.1823   Supplemental Discovery content from the State of Ohio, the defendant through counsel
FAX: 513.424.3135




                                                                                                               VON CLARK DAVIS v. WARDEN
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                                                                                                                     APPENDIX - Page 4776
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                       hereby formally motions this Court for an order limiting the Prosecutor as to evidence of
                       the prior 1971 Murder conviction that can be presented at this Mitigation Trial. The
                       Defense asks that specifically, the Court order that the State of Ohio only be allowed to
                       submit the Judgment Conviction entry and not additional evidence which would result
                       in an unconstitutional trial.
                               The defense points to the case of Rocky Barton, convicted in Warren County
                       Common Pleas in which the Aggravating Circumstance was the prior purposeful killing.
                       In that case, the State of Ohio submitted as evidence, Exhibit 17 Final Judgment from
                       Kentucky and Exhibit 18, Indictment and Plea Kentucky. In the Mitigation Phase, the
                       State of Ohio moved for admission of these exhibits. The exhibits were admitted into
                       evidence. The State of Ohio put on no additional witnesses or testimony and rested with
                       the sole admission of these two exhibits. (See State of Ohio v. Rocky Barton
                       03CR20526, Trial Transcript, pp. 1345-1346, and Index of Exhibits) (Attachment 1).
                       The State's case took all of 41ines of transcript.
                               Further, the Defense incorporates by reference all legal and factual arguments
                       made in its April 6, 2009 filing titled Von Clark Davis' Memorandum Contra to the
                       State's Motion in Limine, wherein the defense continues to object to the introduction of
                       new evidence including the court's proposed review of the Trial Transcript.

                               The specification in the Defendant's case is a status offense. It has already been
                        proven to the first 3 judge panel by proof beyond a reasonable doubt. In fact, in the
                        instant case, even before the Defendant waived a right to a jury trial in the case on May
                        8, 1984, he had appeared before Judge Brewer four days before on May 4, 1984 and
                        personally and in writing elected to have the three judge panel decide the existence of
                        the Aggravating Circumstance as to the prior offense. (Transcript of Motions, pp. 56-58
                        May 4, 1984)(Attachment 2). The State does not get another bite at the apple to add
                        additional evidence. Even if it did, the law in the matter is clear, improperly interjecting
                        non-statutory aggravating circumstances is error. State v. Combs (1991), 62 Ohio St.3d
                        278,283.
                               This is akin to a case where a prior offense elevates the offense level to a higher
                        degree misdemeanor of felony. In a Trial for a charge for OVI with a prior offense, all
                       the prosecutor is allowed to prove is the defendant has in fact been convicted of a prior
                        OVI offense - not the underlying facts of that prior charge such as how drunk was he,
                       did he have an accident, or any other fact related to the charge. In a Trial for a charge of
                       Failure to provide a change of address for as a sex offender, the prosecutor is allowed
                       only to prove a prior conviction for an offense which would require registration - not
                       the underlying facts of the offense. The same can be said for Domestic Violence with
                       priors, Driving Under Suspensions with priors, Non Support of Dependents Felony Four
                       offenses.
                              The State of Ohio has already proven the existence of the Aggravating
                       Circumstance. The State of Ohio need prove nothing more. The Defendant has a prior
                       conviction for a murder in 1971. That conviction, alone, is the Aggravating
                       Circumstance in this case. The facts in that prior conviction, including testimony and
Repper, Pagan,         evidence as the 1970 murder or investigation of that murder itself is inadmissible in the
Cook, Ltd.             instant Mitigation Trial.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424 .3135



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                                                                                  VON CLARK DAVIS v. WARDEN
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                              1.     Non Statutory Aggravating Circumstances

                              It is the defense's position that introduction of any additional evidence as to the
                       1970 murder (1971 conviction) would be an introduction of non-statutory aggravating
                       circumstances resulting in an unconstitutional Trial. Workman v. Bell, 160 F.3d 276 (6th
                       Cir. 1993).
                              Just as the 1983 murder in this case and the nature and circumstances of that
                       offense are not and can not be Aggravating Circumstances, neither can the facts
                       constituting the prior 1971 murder conviction be an Aggravating Circumstance.

                             2.     Irrelevant Evidence Rule 402
                             Secondly, introduction of evidence from witnesses as to the 1971 prior murder
                       conviction would be introduction of evidence which is irrelevant under Evidence Rule
                       402.

                               3·     Inadmissible under Evidence Rule 403
                               Third, even if the State gets beyond Rule 402 as to relevancy, the probative value
                       of such evidence is substantially outweighed by the danger of unfair prejudice, confusion
                       of the issues, and misleading the three judge panel.

                               4·    Inadmissible under Evidence Rule 404
                               Fourth, admission of evidence beyond the conviction entry from the 1971
                       conviction would be violation of Evidence Rule 404(a) and (b). This evidence has no
                       place in a Mitigation Trial where the trier of fact has one job to do.
                               This further would appear that the State would be seeking to compare and
                       contrast the 1971 conviction underlying facts with the 1984 conviction underlying facts.
                       This again would be violation of the Defendant's constitutional rights as the Aggravated
                       Murder is not an Aggravating circumstance and therefore, it would be another attempt
                       to introduce a non-statutory aggravating circumstance.



                              WHEREFORE, the Defendant requests an order limiting the State of Ohio to
                       admission of evidence at the Mitigation Trial to only the Statutory Aggravating
                       Circumstance. Admission of any other evidence would result in an unconstitutional
                       Trial. The Defense incorporates by reference all legal and factual arguments made in its
                       April 6, 2009 filing titled Von Clark Davis' Memorandum Contra to the State's Motion
                       in Limine, wherein the defense continues to object to the introduction of new evidence
                       including the court's proposed review of the Trial Transcript.



Repper, Pagan,                                                        Respectfully submitted,
Cook, Ltd.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135



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                                                                                VON CLARK DAVIS v. WARDEN
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                                                                      ~c:7sc:::~96l
                                                                      REPPER, PAGAN, COOK
                                                                      Attorney for Defendant
                                                                      1501 First Avenue
                                                                      Middletown, OH 45044
                                                                      (513) 424-1823; Fax (513)424-3135


                                                                      and




                                                                      Randall Porter (SC#ooo5835)
                                                                      Assistant State Public Defender
                                                                      Office of the Ohio Public Defender
                                                                      250 East Broad Street, Suite 1400
                                                                      Columbus, Ohio 43215
                                                                      (614) 466-5394 (Voice)
                                                                      (614) 644-0703 (Facsimile)
                                                                      PorterR@OPD.state.OH. US


                                                                      COUNSEL FOR VON CLARK DAVIS



                                                   CERTIFICATE OF SERVICE

                                    I hereby certify that a true copy of the foregoing was delivered via hand

                       delivery to Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and

                       Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by sending via
                        (5\'~) ~&.7 - 3~~~
                       fa~simile to the Office of the Butler County Prosecuting Attorney, nth Floor, 315 High

                       Street, Hamilton, Ohio 45011 and will also be hand delivered to the listed prosecutors in

                       court at the 1:30 hearing scheduled on this day May 8th 2009.


Repper, Pagan,
Cook, Ltd.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513 .424.1823
FAX: 51 3.424.3135


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                                                                                VON CLARK DAVIS v. WARDEN
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                  s TAT'E    O'F. . O.H I .O,      WARREN_·.. COUNT 'Y

                  IN THE       COURT          OF    COMMON
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                                                               PLEAS

                            CASE     N,Q ·.     03CR20.5 2 6




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                                                               VON CLARK DAVIS v. WARDEN
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          l. - Shotqlm                                 683             880                          l.205

          2 - Spent eho1:9Un shell                     683             ll.Ol.                      l.205

          3 - SpeD~ liho1:9Wl llhall                   683             l.099                       1205

          4 - Spent aho1:9Un llhel.l                   684             1098                        1205

         5 - rive Wlllpllllt llhotgun
                                                       684             1101                        1205
                ~·
         6 - Unspent shotgun llhell                    684             1102                        1205

         7 - SptNlt llh01:9Wl llhell                   684             1100                        1205

         8 - Corell.-• talepholl8                      684             1118                        l.205

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               telephcme -·~
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              ltentucky
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    19 - Photioqraph                                 685                                                           Not Offered

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    23 - Cell phone log                              68.6            1107                         1205
    24 - Miam:l. Valley B.aq.ional
         Cr:i.ma Lab report                          686             1151                                          bjected
    25 - Coroner 1 s autopsy
         report                                      686                                                           Not otf&rad
    26 - Photograph                                  686              733                          732
    27 - Photograph                                  686              737                          732
    28       Photograph                             686               738                          732
    29 - Photograph
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    30 -     Photograph                             687               740                          732




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                                                                                             134 ~


          1
               ladies        and gentlemen,                is    a    parade          of
          2    witnesses           that    are       going       to       come       in
          3    here     on behalf          of Mr.          Barton and                tell
          4    you . about         him and teli             you       about          his
          5    back~~ound           and    tell       ~au       about       his

          6    family.
                              The    only witness                you're          going
          7
          8    to     hear    from       today       is Mr.          Barton

               himself.             Mr.    Barton will                take       the
          9
               witness        stand.           And    I,    to be very frank
        10
        11     with you,           ladies       and gentlemen,                   I    have

        12     no     idea what          Mr.    Barton          is    going          to
        13     tell     you because             he    has       not       told me,           he

               has     n~t    told Mr.          Oda.            So you       will          be..
        14
         15    hearing        for    the       first       time,          just       as    we
         16    will,        what    he    has    to    tell          you.
                              And the          only thing             that       I    would
         17
         18     ask you       to    do    is    do what you have                      done
         19     throughout          these       entire proceedings
         20    be     attentive,          pay attention                   to what          he
         21     has    to    say,    and       take    what          he    has       to    say

         22     into    consideration in . your
                deliberations             in    this       case.           Thank you.
         23

         24                   THE    COURT:                     Thank you,                Mr.




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  /'.: ..
. ...._-_../               1    Howard.
                           2                  Mr.    Sievers,      your evidence?

                                              MR.    SIEVERS:             Your Honor,              the
                           3

                           4    State . would move. for            admission of
                           5    State's       Exhibit       17   and State's            Exhibit

                            6   18 .

                                              THE    COURT:               Counsel?
                           7
                                              MR.    HOWARD:              Just    renewing
                           8
                           9    our    objection previously,                   Judge.
                                              THE    COURT:               Okay.          State's
                          10
                          11    Exhibits       17    and 18,      which were            admitted

                          12    in the    trial       phase,      however not
                          13    previously          submitted to          the    jury,
                          14    submitted only to the                court,       will        be

                          15    accepted       into evidence.

                          16                  Does    defense      wish to present

                          17    any evidence?

                          1 8                 MR.    HOWARD:              We    have     no

                          19    evidence,       Your Honor,          we    do have        Mr.
                          20    Barton who          would like       to make        a
                          21    statement       to    the    jury.
                          22                  THE    COURT:               Mr.    Barton,           if
 .......
  , .. ..
          ,   ~i          2 3   you would       take    the witness             stand.             We
  '_j.l)
    ............... · #

                          24    will    not    place you under oath,                    you're



                                                                          VON CLARK DAVIS v. WARDEN
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                 ·. ~ ..
                 ·s TATE 0F 0HI 0                                      State of Ohio~ Butler County
                                        Plaintiff                      Court of Common Pleas
                 YS.                                                   Case No.        CR83-ID2-0614
                 VON CLARK DAVIS                                       I.R.~~5.~;R~~~:J·;QE ~ ~:Wlt9.!l~.
                                        Defendant
                                                                                          .
                                                                                      t;~: ;:L;~;~. :.~~~


                                                                                     Sf.P 1 1 19&4
                 BRUEWER, ,J.

                                                    APPEARANCES:
                                        MICHAEL SAGE and DANIEL G.         EICHEL~        Assistant Prose-
                                                                                 .
                 cuting Attorneys1 for the State of Ohio.
                                        MICHAEL SHANKS AND JOHN A. GARRETSON, Attorneys at
                 Law~               for the Defendant~ Von Clark Davis.


                                               *     *   *   *     *             *        *            *
                                        BE IT REMEMBERED, that at the September Term A.D.,
                1984~               of the Court of Common Pleas, Butler County, Ohio, to
                wit:                February 15, 1984, the Honorable Henry J.                               Bruewer~

                Judge presiding~                    this cause came on to be heard upon the
                motions filed in this case.




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                                                                                     VON CLARK DAVIS v. WARDEN
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             ....
            . ',( )

                      By the Court:           Yes, we want to formalize it.
                      Mr. Garretson:           Oh, I understand.
                      I"m going to b& here on the 6111 case Friday Morning
         ah. after that would be alright.
                      Mr. Shanks:          Can we come to Court F~tday, as close
         to ten 0 clobk as possible .• ~we have other .•. ! have to be
                           1




         in Fairfield ..

                      By ·th-e Court:         Is that alright with your client?
                      Mr. Garretson:           ~an   you be here Friday?
                      f'lr ..    Shanks:   We can make            arrangements .•. he is (unclear) ...
                      By the Court:          Why don     1
                                                             t    we see if we can get that
        together and I'll help you with i t ... if you th1nk .•• but
        bas1ca11y just to, •.
                      ~1r.       Eichel:   It'll look like just. a jury waiver.
                      By the Court:          Alright~            we'll do it sometime say
        after ten o'clock Friday, somebody can be here, ahe whoever •.••
                      0 k ay, 1 s t ha t s uf f 1c i e nt f o r~~:;t ~4 s h e a r i ng t h i s   mo r n i ng .. •
        okay. That's all.
                      AND THEREUPON. on the 4th day of May, 1984, the
        f o 11 ow i ng E1e c t i o n o f     J u ry , was p u t o n r e c o r d 1n ope n co u r t

        as follows:
                      By        the Court:· Okay ... dt&ou L!want to bring your c.11ent
        up here please.                Thts is criminal case CR83-12-0614, State
        of Ohio v.              V~n   Clark Davis and Mr. Davis ah, I'm looking at a




                                                                                VON CLARK DAVIS v. WARDEN
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                                                                                                       57
           •   ,t



                        '
                       •:   1




                     form apparently that bears your signature, fs that correct?
                                 Mr. Davis:         That's correct.
                                 By   the Court:       This form indicates to       the   Court that
                    you're exercising an election that ah, provided by Statute
                    whereby you~e           asking     or you're electing to lave the Court
                    d~6,de        the aggravating circumstance in this case, fs that
                    your understanding?
                                 Mr. Davis:      This is correct, yes ... that is correct.
                                By the Court:         And 1n effect. what you're doing is
                    sayfrJg to ... that you want the Court to decide ah,                   fn this

                    case~       I think it's prior offense ••.
                                Mr. Davis:      Right.
                                By the Court:         And that particular de6tsion would have
                    to be made by the          Court after hearing some ~,~-:idence
                                                                        . . . . ..
                                                                                ~
                                                                                    and also
                    after there'd be a d~c1s1on by the Jury in this c&se, do
                    you follow that?
                                Mr. Davis:      Yes I do.
                                By    the C_ourt:     Is that what you want to do here?
                                Mr. Davis:      That's what I want to do.
                                By the Court:         Nobody is pushing you 1n any direction
                    here, you•re doing this J Of your own free w111?
                                Mr. Davis:      No .••. yes I am.
                                By .the Court:        You•ve discussed this thoroughly with
)                   your attorneys?




                                                                         VON CLARK DAVIS v. WARDEN
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                                                                                                        58
                 ..
                  ~~ I
         . :•.
                         t1 r . Da v 1s :   W1 t h b o t h a t to r ney s .

                         By the Court:          Alright. we'll permit the Election
         then.            If you think an Entry              should be in here, we'll put
         an Entry on.
                         t•lr--Efchel:       I th1nk that Ha1ver is sufficient.
         your Honor.
                         By the Court:          Alright, that's all we'll have this
         morning.
                         r~r.   Garretsorr:
                                 ,.
                                                   Thank you your Honor.
                         AND THEREUPON, on the 8th day of May, 1984, the
         following Election o1 a Three Judge Panel was put on record
         in open Court as follows:
                         By the Court:          Mr. Davis, you're brought over hare
         today because of some inform~t1on that your attorney~ passed
         on to the Court, wherein, you indicated to them and they
         indicated to me that you want to waive your right to . ",.';
                                                                                      , : ··   ......
         have this matter tried by a jury of twelve people and
         submit 1t to a panel of three judges?
                         Nr. Davis:         That is correct.
                         By the Court:         Is that correct?
                         f.1r. Davis:       That is correct.
                         By the Court:         And in that regard, did you execute this
         form •.. i t seems to bear your si9nature?
                         Mr. Davis:         Yes 1t is.




                                                                              VON CLARK DAVIS v. WARDEN
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          05/08/2009    15:29                                                   (FAX)                    P.OU21




                        STATE OF OHIO,

                                     Plaintiff,                                Case No. CR 1983-12-0614

                        vs.



                        VON CLARK DAVIS                                        Judge Nastoff

                                 Defendant• .




                                                  DEFENDANT'S SUPPLEMENTAL ANSWER
                                                      TO REQUEST FOR DISCOVERY



                                    NOW COMES Defendant, by and through hjs undersigned counsel, and,
                       responding to the State's Motion for Discovery, responds as follows:

                       A. DOCUMENTS AND TANGIBLE OBJECTS, CRIMINAL RULE t6(C)(1)(a):

                                 1.    Any and all documents/reports/examinations/tests previously disc1osed in
                                       any prior Discovery Answer by the defendant and his counsels.

                                2. Institutional Summary Report (2 pages dated 4/27/09)
                                       Attached hereto as well as to the Supplemental Discovery filed previously
                                       today, May 8, 2009.


                               WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.

                       B.    REPORTS               OF EXAMINATIONS         OR TESTS,         CRIMINAL RULE
Repper, Pagan,         16(B)(1)(d):
Cook, Ltd.
AttorMys at LAw
1501 First Avenue
Middlelown, OH 45044
                                1.    Any and all documents/reports/examinations/tests previously disclosed in
Phone: 513.424.1823                      any prior Discovery Answer by the defendant and his counsels.
FAX: 513.424.3135




                                                                                        VON CLARK DAVIS v. WARDEN
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         05/08/2009    15:29                                              (FAX)                      P.003/004




                               3· Institutional Summary Report (2 pages dated 4/27/09)
                                  Attached hereto as well as to the Supplemental Discovery filed previously
                                  today, May 8, 2009.


                               WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.



                       C. WTINESSES' NAMES AND ADDRESSES, CRIMINAL RULE t6(C)(1)(c):

                       1. Scott Nowack                                     cj o Ohio State Penitentiary
                                                                           878 Coitsville Hubbard Rd.
                                                                           Youngstown, OH 44505



                               WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                                                                    Respectfully submitted,




                                                                    Melynda ok-Re1ch (SC# oo66596)
                                                                    REPPER,PAGAN,COOK
                                                                    Attorney for Defendant
                                                                    1501 First Avenue
                                                                    Middletown, OH 45044
                                                                    (513) 424-1823; Fax (513)424-3135




Repper, Pagan,
Cook, Ltd.
Auonieys at Law
ISO! Fil"jt Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135



                                                               2




                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 4789
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 15 of 86 PAGEID #: 4824

                                                                           (FAX)                    P.0041004
     05/08/2009         15:30




                                                                       Columbus, Ohio 43215
                                                                       (614) 466-5394 (Voice)
                                                                       (614) 644-0708 (Facsimile)
                                                                       PorterR@OPD.state.OH.US


                                                                       COUNSEL FOR VON CLARK DAVIS



                                                   CERTllnCATEOFSERVICE
                                     I hereby certify that a true copy of the foregoing was delivered via hand

                        delivery to Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and

                        Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving same at

                        the Office of the Butler County Prosecuting Attorney, nth Floor, 315 High Street,
                                                               'SJth
                        Hamilton, Ohio 45011, on this day May _a-=---' 2009.
                                              2(\C\0\~CUu\              ~~ ~
                                                                       Melynda Cook-Reich (SC# oo66596)




Repper, Pagan,
Cook, ~td.
Altomeys at Law
1501 First A~ue
Mlddlc:town, OH 45044
P11one: 513.424.1823
FAX: 513.424.3135


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                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 4790
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 16 of 86 PAGEID #: 4825



I

                                       INSTITUTIONAL SUMMARY REPORT
          Inmate Number
         A-179828
                                   IInmate Name:
                                    Davis, Von
                                                                                                                                                     Date:
                                                                                                                                                      04/27/09
         Institution:
         Ohio State Penitentiary
                                                             ID-Block
                                                              Unit:
                                                                                                            } Security Level at Admission: Current Security Level
                                                                                                                 Death Row                            Death Row
        Purpose ol Report:
           0 Parole Board (filllt hearing)        0 ParolefPRCITC Packet                 0 Request for information from Courts                          ~ Special Request
           0 Parole B9ard (Continuance} only inforrn<!tlon sinc;:e the last hearing should be Included on this report
        1. DISCIPLINE HISTORY: Lis I all Class II Conduct Reports that resulted In Disclpllnary Control (Include a brief summation of Incident and disposition).
                             If the disposition resulted In DC and/or LC, be sure to check the appropriate box. to Indicate this.
          0 This inmate has not received any conduct reports                                 [!] Inmate has not been to DC

        Date:           Summation of Incident:   DC UTime: I                             I   LCU Tlme:l                                      1




       Date:         Summation of Incident:      ocUTime: I                          I       LC U   Time:[                                I
                                                                                                             ,
                                   ~
                                                                                                                                                                  ~




       Dale:        Summation of Incident:       DCUTime: I                          J       LeU Time:!                                   I




      Date:         Summation of Incident:       ocUTime: I                         J LCU Tlme:l                                         I



                                                                                     • Theso JUles hovt> been r o••r,lull.\cd for space; refer to AR-' 120-9.06 for <>•act wordong
     {AIIach DRC2667-Conduct Report Addendum, If necessary)
       0 The Inmate has received one (1)                  conduct reports that did not result in DC
              Brief Summation of lncldent(s):
              Inmate Davis has been on Death Row since 1984 during which time Inmate Davis has only received one conduct
              report. This conduct report was in January 1990 for refusing a cell move. Inmate Davis received a verbal warning
              for this rule infraction.



    2. Educational participation during this incarceration (please read accross).
      0 Enrolled In Adult Basic Ed classes           0 Literacy Unit      0 Pre·GED classes 0 Quit or was Removed from these
      0 Enrolled in GED classes                      0 Obtained GED                         0 Quit or was Removed from GED classes
      0 Enrolled in college classes                  0 Obtained degree or certificate       0 Quit or was Removed from college program
      0 Enrolled In vocational program               0 Comple!ed Vocational program                          0 Quit or was Removed from vocational program




     DRC 2666 E (07104)                                                                                                                                         Page 1 of2




                                                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                                                      APPENDIX - Page 4791
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 17 of 86 PAGEID #: 4826




   3. Work History:
      A What was the average performance of inmate?      0 Excellent 0 Good 0 Average 0 Below Avg                 QPoor
      B. What type of work did the inmate perform?                                                                    Length of
                         Job Title                               Work Location                     Status            Employment
   Porter                                             OSP                               Current                   since 11/2005
   Porter                                             MANCI                             Transfered                various
   Recreation Worker                                  MANCI                             Job rotation              various
   Food Service Worker                                MANCI                             Job rotation              various
   Artist                                             MANCI                             Job rotation              various

  4. Program participation:
    A What programs were recommended?
                   Name of Program                             Type of Program
  Not applcable to Death Row inmates




   B. What was the level of program participation      0 Excellent 0 Good 0 Average 0 Below Avg 0 Poor
      by the Inmate?                                   0 Refused to participate 0 Insufficient tlrfle to complete program
   C. What programs were completed by inmate?
                 Nama of Program                              Type of Program                     Status
 Stress Management (OSP)                            Social-Interactions                enrolled in at OSP
 Positive Thinking (MANCI)                          Social-Interactions                completed at MANCI
 Anger Management (SOCF)                            Social-Interactions                completed at SOCF
 AA meetings (SOCF)                                 Recovery Services                 attended at SOCF
 Military Vetern meetings (SOCF)                                                      attended at SOCF
 (Attach DRC266B-Program Addendum, if necessary)
NOTE: For Parole Plan choices A through 0, complete and attach DRC-2869 Parole Plan Addendum
ADDITIONAL COMMENTS:

In May 2006, Inmate Davis was moved to OSP's extended privilege unit.

Inmate Davis has volunteered and participated in several OSP community service projects which have assisted various
local schools & churches.




Submitted by (Case Manager, please print) Scott S Nowak                                                Date


                                                                                                            4-l-l-61
                                                                                                       Date

                                                                                                           L-(- }- )-0)
                                                                                                                      Page 2 of2




                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                          APPENDIX - Page 4792
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 18 of 86 PAGEID #: 4827




                         CINDY CARPENTER                   CLERK OF COURTS                  I;' . ;     I E0
                                                                                 20nq11A Y -8 PM I : I 0
      WITNESS INFORMATION
                                                                                                    J~ '~(·"
                                                                                                          0

                                                                                    I I .J)
                                                                                         I 1 'lo    I   -~,. t"lf:
                                                                                                                   ,tl; ~ J ~
      NAME: Jerome Stineman                                                         [Ju ' .~ L({ tO! ..·. ry·
                                                                                           -·1     . -•   · I ll                I




                                                                                 r. Lf f\ r\ ClF r: n i ~ Ts
                                                                                                                                    I


      ADDRESS                                                                                                        1J


      CITY:           Cincinnati                  STATE: OH            ZIP: 45208

      Today's Date:          May 8, 2009   Case No.: CR 1983-12-0614

      Plaintiff: State of Ohio     vs.           Defendant: Von Clark Davis

                                 PRAECIPE FOR SUBPOENA
                                     Criminal- Hearing
                      COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

     _ _ Certified Mail                    _ _.Personal Service by Butler County Sheriff

     _ _ _ Appointed Process Server ___ Foreign County Sheriff

        XX     Attorney Service

     The above named Witness is commanded to appear in the Common Pleas Court of Butler
     County, Ohio at the Government Services Center, 3rd Floor, 315 High Street, Hamilton, Ohio
     45011 as follows:

              DATE: May 11,2009 through May 14,2009                     TIME: 9:00a.m. both days
                                                                       released by Attorney

              JUDGE: Nastoff


     THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS:

                                                 REQUESTING ATTORNEY
                                                 Name: Melynda Cook-Reich
                                                 Repper, Pagan, Cook Ltd.
                                                 1501 First Avenue
                                                 Middletown, OH 45044
                                                 513-424-1823; Fax (513) 424-3135




                                                                          VON CLARK DAVIS v. WARDEN
                                                                               CASE NO. 2:16-cv-00495
                                                                                APPENDIX - Page 4793
     Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 19 of 86 PAGEID #: 4828




                                               IN   otHl.E ~~bhT OF COMMON PLEAS
                                                      BUTLER COUNTY, OHIO
                                             zsn MAY -8 PM ! : i 0
                       STATE OF OHIO,

                              Plaintiff,                                   Case No. CR 1983-12-0614

                       vs.



                       VON CLARK DAVIS                                     Judge Nastoff

                              Defendant.




                                           DEFENDANf'S SUPPLEMENTAL ANSWER
                                               TO REQUEST FOR DISCOVERY



                                    NOW COMES Defendant, by and through his undersigned counsel, and,
                       responding to the State's Motion for Discovery, responds as follows:

                       A. DOCUMENTS AND TANGIBLE OBJECTS, CRIMINAL RULE 16(C)(1)(a):

                              1.   Any and all documents/reports/examinations/tests previously disclosed in
                                   any prior Discovery Answer by the defendant and his counsels.

                             2.    DRC Record- Budgeted Inmate Costs as of 5/4/09.


                               WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                       B.    REPORTS         OF     EXAMINATIONS       OR TESTS,      CRIMINAL       RULE
                       16(B)(1)(d):

Repper, Pagan,               1.    Any and all documents/reports/examinations/tests previously disclosed in
Cook, Ltd.                            any prior Discovery Answer by the defendant and his counsels.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513 .424.1823         2.    DRC Record- Budgeted Inmate Costs as of 5/4/09.
FAX: 513.424.3135




                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 4794
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 20 of 86 PAGEID #: 4829




                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.



                       C. WITNESSES' NAMES AND ADDRESSES, CRIMINAL RULE t6(C)(l)(c):

                          1.    Fannie Whiteside- -previously disclosed (this is address update)
                                   Glendale Place Care Facility
                                   cj o Chase Kohn, Administrator
                                   779 Glendale Milford Road
                                   Cincinnati, OH 45215
                                          (513) 771-1779

                          2.    Elizabeth Crawford- previously disclosed (phone number update)


                          3·    DRC Record Custodian
                                cj o Vince Ligano
                                ODRC Legal Services
                                770 West Broad St.
                                Columbus, OH 43222

                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                                                                    Respectfully submitted,




Repper, Pagan,                                                      and
Cook, Ltd.
Attorneys a! Law
1501 Firs! Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135


                                                                2



                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4795
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 21 of 86 PAGEID #: 4830




                                                                     Randall Porter (SC#ooo5835)
                                                                     Assistant State Public Defender
                                                                     Office of the Ohio Public Defender
                                                                     250 East Broad Street, Suite 1400
                                                                     Columbus, Ohio 43215
                                                                     (614) 466-5394 (Voice)
                                                                     (614) 644-0703 (Facsimile)
                                                                     PorterR@OPD.state.OH. US


                                                                     COUNSEL FOR VON CLARK DAVIS



                                                  CERTIFICATE OF SERVICE

                                    I hereby certify that a true copy of the foregoing was delivered via hand

                       delivery to Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and

                       Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving same at

                       the Office of the Butler County Prosecuting Attorney, uth Floor, 315 High Street,

                       Hamilton, Ohio 45011, on this day May   b~ ,2009.
                                                                    11




Repper, Pagan,
Cook, Ltd.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135


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                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 4796
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 22 of 86 PAGEID #: 4831




                                               DRC Current FY 2009 Budgeted Inmate Costs
                                                            As of 05/04/2009

                                       FY09 Bu~get All                                 FYOB Pop Yearly Dlrecl Dall~ Dlr~C1
                   ltlS!hutl n                            Non-GRF ·     GRF budgeL
                                             Funds                                      0'4/27/09 lnmafe eost lnrnate•Cost
         ALLEN C.L                     $     29,599,828 $ 3,711,1 49 $    25,888,679         1,328 $ 22,289.03 ~     61.07
         BELMONT C.L                          41,049,625     4,859,857     36,189,768        2,635    15,578.61       42.68
         CHILLICOTHE C.L                      47,683,015     4,654,658     43,028,357        2,872    16,602.72       45.49
         CORA MEDICAL CTR.                    45,036,318     6,567,253     38,469,066          148          N/A         N/A
         CORRECTIONAL R.C.                    41,270,779     4,666,602     36,604,177        1,524    27,080.56       74.19
         DAYTON C.L                           16,087,346     1,362,51 9    14,724,827          470    34,228.40       93.78
         FRANKLIN P.R.C .                     11,365,458     1,502,532      9,862,926          485    23,433.93       64.20
         GRAFTON C.L                          31,012,073     3,589,390     27,422,683        1,499    20,688.51       56.68
         HOCKING C.F.                         14,537,219     1,284,596     13,252,623          481    30,222.91       82.80
         LAKE ERIE C.L                        24,496,886        93, 072    24,403,81 4       1,482    16,529.61       45.29
         LEBANON C.L                          44,349,363     5,751, 056    38,598,307        2,695    16,456.16       45.09
         LONDON C.L                           39,947,858     6,249, 009    33,698,850        2,522    15,839.75       43.40
         LORAIN C.L                           38,178,201     3,961,559     34,21 6,643       1,907    20,020.03       54.85
         MADISON C.L                          43,464,489     4,270,940     39,1 93,549       2,303    18,872.99       51.71
         MANSFIELD C.L                        52,71 5,589    5,745,528     46,970,061        2,489    21,179.43       58.03
         MARION C.L                           40,578,247     4,574,295     36,003,952        2,307    17,589.18       48.1 9
         MONTGOMERY E.P.R.C.                  10,995,418     1,179,333      9,816, 064         340    32,339.46       88.60
         NOBLE C.L                            38,592,152     3,546,232     35,045,921        2,457    15,707.02       43.03
         NORTH CENTRAL C.L                    37,871,223     4,810,354     33,060,869        2,289    16,544.88       45.33
         NORTH COAST C.T.F.                   15,463,379       169,720     15,293,659          665    23 ,253.20      63.71
         NORTHEAST P.R.C.                     16,068,898     1,787,346     14,281,552          568    28,290.31       77.51
         OAKWOOD C.F.                         22,952,744       653,876     22,298,868          147          N/A         N/A
         OHIO REF FOR WOMEN                   43,621,442     3,612,052     40,009,389        2,428    17,966.00       49.22
         OHIO S.P.                            30,980,081     2,262,1 79    28,717,902          527    58,785.73     161.06
         PICKAWAY C.L                         58,731, 296    6,342,398     52,388,898        2,452    23,952.40       65.62
         RICHLAND C.L                         36,936,1 80    4,830, 297    32,105,883        2,528    14,610.83       40.03
         ROSS C.L                             44,939,656     6,253, 947    38,685,708        2,578    17,431.98       47.76
         SOUTHEAST C.L                        31,454,505     3,431, 655    28,022,851        1,323    23,775.14       65.14
         SOUTHERN OHIO C.F                    54,087.277     4,878,61 7    49,208,660        1,607    33,657.30       92.21
         TOLEDO C.L                           30,01 4.079    2,432,901     27,581 ,178       1,148    26,144.67       71.63
         TRUMBULL C.L                         35,388,826     3,321,076     32,067, 750       1,407    25,151.97       68.91
         WARREN C. I                          32, 707,273    2.919 ,437    29,787,836        1 421    23 017.08       63.06
                Direct Total           $ 1'1 02,176,724 $ 115,275,435 $ 986,901,290        51,032 $ 21,597.76 $      59.17

                Indirect Total         $ 213,654,137 $ 56,966,460 $            156,687,677       51,032 $    3,070.38   :::.$_   ____::8~
                                                                                                                                        .4~
                                                                                                                                          1

                  DRC Total             $1,315,830,861    $172,241,894     $1,143,588,967        51,032 $ 24,668.14     $         67.58

                                                                                Note This report reflects FY09 Budget as of 06/30/08.
                                           The only data changed in this report is Average Inmate count reflecting inmate population

            Note:
         1. Amounts include indirect inmate cost associated with administration, programs such as medical services, technology etc.
            Indirect examples are Centralizes purchasing (ie.vehicles , computers) Centralized transportation, agency data systems etc.




                                                                                                      VON CLARK DAVIS v. WARDEN
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                                                                                                            APPENDIX - Page 4797
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/


                                         INSTITUTIONAL SUMMARY REPORT
          Inmate Number            'Inmate Name:                                                                                                          Date:
         AM179828                   Davis, Von                                                                                                            04/27/09
         Institution:
         Ohio State Penitentiary
                                                             ID-Block
                                                               Unit:                                             I Security Level at Admission: Current Security Level
                                                                                                                   Death Row                              Death Row
         Purpose of Report:
           0 Parole Board (first hearing)             0 Parole/PRCITC Packet                  0 Request for information from Courts                          ~Special Request
           0 Parole Board (Continuance) only information since the last hearing should be Included on this report
        1. DISCIPLINE HISTORY: List all Class II Conduct Reports that resulted In Disciplinary Control (Include a brief summation of Incident and disposition).
                               If the disposition resulted in DC and/or LC, be sure to check the appropriate box. to Indicate this .
           0  This Inmate has not received any conduct reports                            ~ Inmate has not been to DC


         Date:          Summation of Incident:   DCUTime: I                            I       LCU Time:[                                      J




        Date:           Summation of Incident:   DCUTime: I                            I       LCUTime:l                                        I

                                    ..                                                                                                                                  ..
        Date:           Summation of Incident:   DCUTime: I                            I      LCU Tlme: l                                       l




       Date:         Summation of Incident:      DCUTlme: I                            I      LCU Time:[                                       I



                                                                                           • Th~sc ntl .. hav~ been plUl!J)I11e.s<:d for spaco, re fer to AR-5120·9·06 for exact wordmg
      (Attach DRC2667-Conduct Report Addendum, if necessary)
         l!J The Inmate has received one (1)                conduct reports that did not result in DC
               Brief Summation of lncident{s):
               Inmate Davis has been on Death Row since 1984 during which time Inmate Davis has only received one conduct
               report. This conduct report was in January 1990 for refusing a cell move. Inmate Davis received a verbal warning
               for this rule infraction.



      2. Educational participation during this incarceration (please read aCCI'oss).
        0 Enrolled In Adult Basic Ed classes           0 Literacy Unit           0 Pre-GED classes 0 Quit or was Removed from these
        0 Enrolled in GED classes                      0 Obtained GED                                              0 Quit or was Removed from GED classes
        0 Enrolled in college classes                  0 Obtained degree or certific:ate                           0 Quit or was Removed from college program
        0 Enrolled In vocational program               0 Completed Vocational program                              0 Quit or was Removed from vocational program




       DRC 2666 E (07104)                                                                                                                                             Page 1 of2




                                                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                                                        APPENDIX - Page 4798
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   3. Work History:
      A. What was the average performance of inmate?       0 Excellent 0 Good 0 Average 0 Below Avg                        0Poor
      B. What type ofwor1< did the inmate perform?                                                                            Length of
                         Job Tille                                 Work Location                        Status               EmpIoyment
    Porter                                             OSP                                  Current                        since 11/2005
    Porter                                             MANCI                                Transfered                     various
   Recreation Worker                                   MANCI                                Job rotation                   various
   Food Service Worker                                 MANCI                                Job rotation                   various
   Artist                                              MANCI                                Job rotation                   various

   4. Program participation:
     A. What programs were recommended?
                   Name of Program                                Type of Program
   Not applcable to Death Row inmates




    B. What was the level of program participation        0 Excellent 0 Good 0 Average 0 Below Avg                        0 Poor
      by the inmate?                                      0 Refused to participate   0 Insufficient tirfle to complete program
    C. What programs were completed by inmate?
                   Name of Program                               Type of Program                       Status
   Stress Management (OSP)                             Social-Interactions                 enrolled in at OSP
   Positive Thinking (MANCI)                           Social-Interactions                 completed at MANCI
   Anger Management (SOCF)                             Social-Interactions                 completed at SOCF
  AA meetings (SOCF)                                   Recovery Services                   attended at SOCF
  Military Vetern meetings (SOCF)                                                          attended at SOCF
   (Attach DRC266B-Program Addendum, if necessary)
  NOTE: For Parole Plan choices A through D, complete and attach DRC-2869 Parole Plan Addendum
  ADDITIONAL COMMENTS:

  In May 2006, Inmate Davis was moved to OSP's extended privilege unit.

  Inmate Davis has volunteered and participated in several OSP community service projects which have assisted various
  local schools & churches.




  Submitted by (Case Manager, please prlnl) Scott S Nowak                                                        Dale


                                                                                                                Date

                                                                                                                  L.(- }- )-0)
                                                                                                                                 Page 2 of2




                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 4799
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                                   RESIDENTIAL SERVICE
                                   RETURN OF SUBPOENA
                 C 0 U R T 0 F C 0 M M 0 N PLEA S, B U T L E R C 0 UN T Y,



        STATE OF OHIO                                              CASE NUMBER: CR 1983 12 0614

        vs.
                                                                   DATE ISSUED: April 30,2009
        VON CLARK DAVIS


        COURT DATE: MAY 11 2009


        SUMMONS INFORMATION:
        Name:    Dr JOSEPH H BRANDABUR
        Address: BUTLER COUNTY CORONER'S OFFICE
                 315 HIGH ST 6TH FLR
                 HAMILTON, OH 45011

                                                                                             .              )

        INSTRUCTIONS: This Subpoena is required to be served at the residence named above, upon~~ person,.Of
        suitable age and discretion .                                                                     -


        DOCUMENTED ATTEMPTS AT SERVICE:                           PERSONAL SERVICE:
             Date:._ _ __ _ _ _ _ __ __                           Signature:_ _ _ _ _ __ _ _ __
             Date:_ _ __ _ _ _ _ __ __



                                                                                             SE~~D:
             Date: _ __ _ _ _ _ _ __ __

        PERFECTED SERVICE:
             Date:    MAY
                      0 4 2009           Time: 0110
                                                             @    ALTERNATS.SJBJECT
                                                                  S1gnature:     ~~TI____
                                                                  Printed Name:_______'U_
                                                                                    _ __._,____~_
                                                                  Relationship:._ __ _ _ _ _ _ __
       FAILURE OF SERVICE:
             Reason for failu re:_ __ _ _ __ _ _ __ _ _ _ _ _ _ _ __ _


       SHERIFF'S FEES:                   ,,
             Mileage:            2 0                                               CIVIL DIVISION
             Return of Serv ice:__il.,. .W
                                         ~-----                                  DATA ENTRY OF FEES
             TOTAL FEES :. _ _.J.<8~·CIV_'_ __ _ _                    Initial:          BM
                                                                      Date:
                Deputy:
                BadgeNu~                 F ~
                                                     ~'71'



                          File this document with Butler County Clerk of Courts




                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
                                                                                          APPENDIX - Page 4800
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                                    RESIDENTIAL SERVICE                            :•   .'"",1 1 ~   I   •
                                                                                                                     4'• o.',




                                   RETURN OF SUBPOENA                 .     :-,.               ~~-·             )!~fJ           ~"'!

                 C 0 U R T 0 F C 0 M M 0 N PLEAS, BUTLER C 0 UN T Y, 0 H 1'.0 ·: -
                                                                                                         L~ .   >•,'0)'
        STATE OF OHIO                                         CASE NUMBER: CR 1983 12 06I4

        vs.
                                                              DATE ISSUED: April 30, 2009
        VON CLARK DAVIS


        COURT DATE: MAY II 2009


        SUMMONS INFORMATION:
        Name:    RICHARD R CARPENTER
        Address:           ~        p1 "                                                                             _.,
                 HAMILTON,     01 lL-t; 1
                                            :;/
        INSTRUCTIONS: This Subpoena is required ll1
        suitable age and discretion.


        DOCUMENTED ATTEMPTS AT SERVICE:
             Date: _ _ _ _ _ _ _ _ _ _ __
             Date: _ _ _ _ _ _ _ _ _ _ __
             Date: _ _ _ _ _ _ _ _ _ _ __

       PERFECTED SERVICE:                                     ALTERNATE SUBJECT SERVED:
            Date: os--os-...{)~           Time: /fJOO         Signature:._ _ _ _ _ _ _ _ _ __
                                                              Printed Name:_ _ _ _ _ _ _ __
                                                              Relationship: _ _ _ _ _ _ _ _ __
       FAILURE OF SERVICE:
             Reason for failure: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


       SHERIFF'S FEES:
                                  3 .so
             Milcagc:._ _ _~-"'-------                                     ~IL DIVISION
             Return of Service:-:6::--·=-D::=-()_ _ _ _ __                m11 0'~ OF FEES
                                                                 Initial: _ __ _ _ _ _ __
             TOTAL FEES :_ _,_?·....:.S_l>_ _ _ _ __
                                                                 Date:
               Deputy :     V'A-c..lo...AA..
               Badge N umber:-\L.LI..::....}~_.___ _ _ __ _




                          File this document with Butler County Clerk of Courts




                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 4801
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 27 of 86 PAGEID #: 4836


I


                                   RESIDENTIAL SERVICE
                                   RETURN OF SURPOENA
                 C 0 U R T 0 F C 0 M M 0 N PLEA S, B U T L E R C 0 U                   TV



        STATE OF OHIO                                              CASE NUMBER: CR 1983 12 0614

        vs.
                                                                   DATE ISSUED: April 30, 2009
        VON CLARK DAVIS


        COURT DATE: MAY 11 2009


        SUMMONS INFORMATION:
        Name: ~MON
        Add1·ess. . . . . _
                 HAMILTON, OH 45013


        INSTRUCTIONS: This Subpoena is required to be served at the residence named above,   ¥rul
                                                                                               ·~~~er          Jn-
        suitable age and discretion.                                                       ~~c._      . ..
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                                                                                            ~c r - .

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        DOCUMENTED ATTEMPTS AT SERVICE:                           P~RSONA~ER~V : ··q<"":•• ..1~                • ·'
             D<ll : o ~- r:Yt-o9 O'f~c.l w~ 1/Jf                  Signature: ~c;;;_- ......-----:~
             Date:_ __ _ __ _ _ __ _ _                                                      .._) L:l
             DaLe:_ __ _ __ _ _ __ _ _
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                                                                                              j.

                                                                                                             4, . - :

        PERFECTED SERVI.~E:                                       ALTERNATE SUBJECT SERVED: ·
             Date: or-u~-or               Ti me:/c:l c:::tJ       Signature:_ _ __ _ _ __ _ __
                                                                  Printed Name: _ __ _ _ __ __
                                                                  Relationship:_ _ __ _ _ __ __
        FAILURE OF SERVICE:
              Reason for failure:. _ _ _ __ _ _ _ __ __ _ _ _ _ _ __ __


       SHERIFF'S FEES:            .)-()
             Mileage:_ _ _3    =-:---- -- - -
             Return of Service:-=b-
                                 · o,...,o.,.....-_ _ _ __
             TOTAL FEES :~f-1.';..;;..5_0_ _ _ __

               Deputy:        f\\ (. { ~
               Badge Numher:._ _,ILLI.=..J.._f_ _ __ _ _




                          File this document with Butler County Clerk of Courts




                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 4802
     Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 28 of 86 PAGEID #: 4837



                                                                                                 IMAGED




                                                  I '   . '      . y ..

                                                 ,.i 'Ct~!J.R:"i() t£1f7- ~OMMON PLEAS
                                             "'L·· F BUTlSRn OUNTY, OHIO

                       STATE OF OHIO                                           CASE NO. CR1983 12 0614

                                     Plaintiff                                 Sage, J.

                               vs.

                       VON CLARK DAVIS                                         ENTRY

                                     Defendant


                               Upon request, a three-judge panel consisting of Hon. Andrew Nastoff,

                       Presiding Judge, Hon. Charles L. Pater, and Hon. Keith M. Spaeth are hereby

                       appointed to hear testimony in this matter.

                                                               SO ORDERED.




                                                              "'patricia-s:·oney
                                                               Administrative .J tJC:fge



                       Copies to:    Prosecuting Attorney
                                     Judge Andrew Nastoff
                                     Judge Patricia S. Oney
                                     Judge Keith M. Spaeth
                                     Judge Charles L. Pater


tdge Michael J. Sage
Common Pleas Court
Butler County, Ohio




                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
                                                                                           APPENDIX - Page 4803
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 29 of 86 PAGEID #: 4838




                                                   ROBIN N. PIPER
                             BUTLER COUNTY PROSECUTING ATTORNEY
                                                 Govern~{~tg3M'f(lf:ef S)enpf.~· j~ t~ fbor
                                    P.O. Box 515 • 315 High St. •l-iamdfon, dtliJ45012-0515
                                               Phone 513-887-3474 • Fax 513.-785-5206

                                                                :~ \~ ;_. :.~ .. ·_~: .:t;
                                                                                     (i.f .i{; :,
                                                               C. ·· ,, ... ,_,,_(}Ri~l                   ~ p:;v~



            TO:                  MARY SWAIN Fax 785-5719

                                            Re: Court Stenographer

            Date : _          __!.M..!...!..=..ay.J--....!.4...L...-=2-=0-=0-=9_ _


            Person Ordering Transcript: Mike Oster/ Lisa McClendon

            Date of Hearing I Tria I: __4~/-=8:...t.....:/0=..:9=--=a:...:...:n-=d_4_,_._/-=2.....:..1.L...;;/0""-'9"'-----

            Phone #                  785-5190

            Case Caption:                             St. vs.                Von Clark Davis

      Ee~1983-12-061~
           Description of Request:                                           Motion Hrgs (what def ordered)

           Court Venue:                         Butler Countv Common Pleas

           Judge who heard case: ----=Jc.=u=-=d~g:..=e--=-N....::...;a=-=s:::....:::tc=.o..:....:ff_ _ _ __

           Date Transcript needed: __W..:. . . :. . .h-=-=e::. . :. .n. :. . . .=.av-=-a=.:i. :. . a=b~le=-----
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                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 4804
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 30 of 86 PAGEID #: 4839




                                         COURT '<iF COMMON PLEAS
                                                :StJfLER COUNTY, OIDO
      STATE OF OHIO           7.~G9Wi~ \3 P~\ z:Oi CaseNo.CR (Js-/Z-0011
             Plaintiff          ;:J ,, ;: ;..   :····.'·:~hhT~ \~·: Judge    I!Mslo r,c
      vs.
                                  [L,l~ 1,;:> ~j ,:·· !:ciJRTS:
                                 C ........      ,_           .
                                                                    PRETRIAL ORDER
                              Pevi_s
             Defendant(s)
                                                      **************~**               ~~
             This matter came before this Court this              13"' day of_..,!_/____.:_~'lfl+(---- , 20~,
      and the following orders and deadlines were established, and shall be the order of the Court:
            ,/       PLEA~T%A~kTINGissetfor                              tJ/3/o<::f           at   /(.'cJ{)Jl   m.
                    DISPOSITION is set for _ _ _ _ _ _ _ _ _ _ _ at _ __                                        m.
                    TRIAL is to commence o n - - - - - - - - - - at - - -                                       m.
                    MOTION _ _ _ _ _ _ _ _ shall be filed by _ _ _ _ _ _ _ __
                    and shall be heard on .,-----,---------.-----r-r- at                                        m.
                    o~?Htt~{~ i~;'e11~                               9 /fJ/oc;         L(d~ys at    q ·a:J_IJ. m.
                                                                               7h'(~~ JI.J(ke #we/.
                    BILL OF PARTICULARS
                    Defendant's motion to be filed by _ _ _ _ _ _ _ _ _ _ _ _ __
                    Prosecutor's response to be filed by _ _ _ _ _ _ _ _ _ _ _ _ __

                    DISCOVERY
                    Defendant's motion to be filed b y - - - - - - - - - - - - - -
                    Prosecutor's response to be filed by - - - - - - - - - - - - -
                    Prosecutor's motion to be filed by _ _ _ _ _ _ _ _ _ _ _ _ __
                    Defendant's response to be filed b Y - - - - - , - - - - - - - - - -
      BOND IS REVOKED/SET              ft/ f Cu uNs-e (               (?J..J YJ..J   f '£ ttbcve. IJ~IJrJI.;c;
      cAPIASTOISSUE         schtdv/e 2> fo be fm~J?f<!ftt:l fo Sc:r- ftJL(
                                                                    SO         nVD~n.              q(~




                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 4805
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 31 of 86 PAGEID #: 4840




            CINDY CARPENTER                                              CLERK OF COURTS




        PROCESS SERVER'S SUBPOENA COPY: RANDALL PORTER




        Date:   May 7, 2009                                    CaseNo. :CR 1983120614
                                        STATE OF OHIO VS VON CLARK DAVIS


                    SUBPOENA SERVED BY PROCESS SERVER
                COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO


        To the Special Process Server: You are directed to serve the attached subpoena issued by the Butler County
        Court of Common Pleas.

        Please serve upon the following party:

                          SCOTT NOWACK
                          C/0 OHIO STATE PENITENTIARY
                          878 COITSVILLE HUBBARD RD
                          YOUNGSTOWN, OH 44505

        CINDY CARPENTER
        Butler County Clerk of Courts




         GOVERNMENT SERVICES CENTER e 315 HIGH STREET e SUITE 550 e HAMILTON, OHIO 45011-6016

                                        BUTLER COUNTY CLERK OF COURTS
                                             www .butlcrcountyclerk .org




                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4806
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 32 of 86 PAGEID #: 4841




              CINDY CARPENTER                                               CLERK OF COURTS




        PROCESS SERVER'S SUBPOENA COPY: RANDALL PORTER




        Date:         May 7, 2009                                     Case No.: CR 1983 12 0614
                                               STATE OF OHIO VS VON CLARK DAVIS


                          SUBPOENA SERVED BY PROCESS SERVER
                      COURT OF COMMON PLEAS, BUTLER COUNTY, OHI 0


        To the Special Process Server: You are directed to serve the attached subpoena issued by the Butler County
        Court of Common Pleas.

        Please serve upon the following party:

                                    SCOTT NOWACK
                                    C/0 OHIO STATE PENITENTIARY
                                    878 COITSVILLE HUBBARD RD
                                    YOUNGSTOWN, OH 44505

       CINDY CARPENTER
       Butler County Clerk of Courts


       .By:SHONDA ERTEL
       Deputy Clerk
                  0
              !.r)


                      : ·:::_::: EXECUT ION OF SERV ICE BY SPECIAL PROCESS SERVER
             CL         -._.,.:_,                        5.~
       l . T,j.>i§ subpo~mi-\vus s · rved 11    M0..'{              ,
                                                                    20 0 'f .   Mileage            55 B
       2. ThTs supp·Clena~~as unable to be served for the following reasons :
            ;-...     .. ' . .                                                  Return and Service _ _ __
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         Lh            ::::,~
         ~            ~ i:P~ J           ..i... p
       SnJNAT . RE:,e-v~~ <Jl. (br-vJ.-                                         TOTAL FEES
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       Address: 2-c;l) [. . '8( o-~ ~ . l'fl>' t:'t.J!-        U/s. 0 )\ Lf 32-1~
       C000067059


       GOVERNMENT SERVICES CENTER e 315 HIGH STREET e SUITE 550 e HAMILTON, OHIO 45011-6016

                                              BUTLER COUNTY CLERK OF COURTS
                                                   www.butlercnuntyclerk.org




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
                                                                                                APPENDIX - Page 4807
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 33 of 86 PAGEID #: 4842




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                                                                                                               J     ~- ._...



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                                   COURT OF COMMON PLEAS                     ?tit)fl    It#
                                                                             _.,,_._:,· ,7 ..~1'                   "' ;
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                                     BUTLER COUNTY OHIO  I
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                                                                                         ._ P.l.:
                                                                                    f '   {I \ \.,. .               . a:?: 1
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                                                                              l# ' l             I                                   '-' I
     STATE OF OHIO                               ASE NO. CR1983-12-~~ 14 Lr·                                 ·:· . . .
                                                                        J   .....    [p ~.-~~_cc ,
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                                                                                                                   ,. :. ,_ :
                                                                                                          "::;: ,, tr· ')··
                    Plaintiff                    ASTOFF, J .
                                                                                                                   . 'I         C'
                                                                                                                                v

     vs.                                         NTRY FOR TRANSPORT

     VON CLARK DAVIS                             eptember 03. 2009

                   Defendant

            It appears to the Court that Von Clark Davis , Inmate No . A 179828, is confined at
     the Ohio State Penitentiary, Youngstown , Ohio 44505

         It further appears to the Court that a Pre-Trial Conference in the above captioned
     matter is set for September 03. 2009 at 9 :00AM in the But ler County Court of Common
     Pleas, before the Honorable Andrew Nastoff and shall be held until the completion of the
     Sentencing Hearing scheduled for September 8. 2009 .
         IT IS THEREFORE. ORDERED that the Warden of the Ohio State Penitentiary ca use said
     defendant to be released to the Sheriff of Butler County, Ohio, for the purpose of attending
     said heari ng in But ler County, Ohio, and said defendant shall be held in the custody of the
     Sheriff of Butler County, Ohio, until the completion of said hearing and upon the
     completion of said hearing, said defendant shall be returned to the institution unless
     otherwi se Ordered by this Cou rt.


     APPROVED AS TO FORM :                             ENTER

     ROBIN PIPER
     PROSECUTING ATTORNEY
     BUTLER COUNTY, OHIO



 / tNSTRUCTIONS TO THE CLERK ' PLEASE CERTI


     MAO/ beg
     May 13. 2009




                                                                      VON CLARK DAVIS v. WARDEN
                                                                           CASE NO. 2:16-cv-00495
                                                                            APPENDIX - Page 4808
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 34 of 86 PAGEID #: 4843




                                            IN THE COURT OF COMMON PLEAS
                                                   BUTLER COU NTY, OHIO


                                                                  *Case No: CR83-12-J 61j/4 JIJN -3       AM IC': 3i
             STATE OF OH IO,                         FILED BUTLER CO.
                                                    COURT OF APPEALS
                         Plaintiff,
             vs.
                                                                  *
                                                    CINDY CARPENTER
             YON CLA RK DA VIS                      ru:RK OF COURT::
             - - - - - - - -- - - --                               Judge And rew Nastoff
                         Defendant.                                MOTION AND CERTIFICATION
                                                                   BY COURT REPORTER FOR
                                                                   TRANSC RIPTION FEES


                          The undersigned, havi ng been a ppointed the Assistant Court Reporter assigned to
              transcribe proceedings, moves this Court for an order approving payment of fees as ind icated
              herein. I certify that I           D Have               [8] Have NOT            received addi tional
              compensation in connection with providing transcripts herein. I have performed all transcription
              services indicated herein. I further certify that all transcri ptions described herein have been fi led
              in a ti mely manner in accordance with applicable schedul ing orders or other due dates.

            ( *) Circ umstances of additio nal compensation




            JILL CUTTER

            Assistant Court Reporter


                                                       SUMMARY OF CHARGES

                   Original T ranscript     60        pages at the rate of   $ 5.00           $ 3 00.00
                                          - ---
                   Copy o f Transcript      60        pages at the rate of   $ 2.50           $ 150.00
                                          - - - -
                   Origina l Transcript               pages at the rate of
                                          ----

                   Copy o f Transcri pt               pages at the rate of
                                          - ---

                TOTAL T RANSC RIPT ION FEES at the rate of                $ 5.00   per page        s 300.00
                   TOTAL TRA NSCRIPT ION COPIES at the rate of $ 2.50 per page =                   S 150.00


                              Gra nd total of all charges         $450.00




                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4809
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 35 of 86 PAGEID #: 4844



                     CLERK'S/AUDI'.           . ~·s TRANSCRIPT FEE FOR AN INL . .:iENT DEFENDANT
                                                              Revised Code 2301.24-25

                                             In the Common Pleas Court of Bl.illei' ~o4!!_tYlJhi o.
                                                 FlLED BUTLER CC e                      .     '-

                     t e_o_fo_h_io_ _ _ _ _c_
     Plaintiff: _st_a_                      ~o_u_R_
                                                  T Of MPU·                J£0~ r<J~ ~ - 3 AH~§~-12-0614
       v.       VON CLARK DAVIS                  ,:Ui~ 0 3 2009            Attb'rhey(s) for 1tre DefendanUParty Represented:
                                                                           -~
                                                                              ~~ 1'7~tif0t
                                                                                                   •l, r,
                     Defendant/Party Represef®fil DY CARPENTER
                                                 ,- l.EP-K OF COURT"
     In re




                                                                                                       -
                                              CLERK OF COURTS CERTIFICATION

   I, the Clerk of Courts, hereby certify that             JILL CUTTER                                                            ,is
                                                 ---~--~----~~~---
                                                        (Court Reporter's Name)                (Court Reporter's Tax 10)
   hereby an official stenographer of said court and is entitled to the following fees for making transcript(s) of:




                    Clerk's Signature                                                        Date
  The transcript is ordered by the court for use by the Defendant or the Defendant's attorney in the following type of
  proceeding:
     D Felony, Misdemeanor, or Juvenile Proceeiding                          D Capital Offense Trial proceeding
     D Appeals Proceeiding                                                   [RJ Capital Offense Appeals proceeding
     D Postconviction Proceeiding                                            D Capital Offense Postconviction proceeding
     D       Other        (Explain)


   Date whi ch above checked proceeding terminated:                                          OR        [8] Still Pending (check if pending)
                                                                -------
   Original transcript of        60        pages or folio at the rate of       $ 5.00        per page or folio ,       $300.00
                            - - -- - -
   Copy of transcript of         60        pages or folio at the rate of       S 2.50        per page or folio ,       $ 150.00
                            - - - -- -
                                                                                                         TOTAL =       $ 450.00

                            NOTE: A COPY OF THE COURT REPORTER'S BILLING MUST BE ATTACHED

                                                          JUDGMENT ENTRY
         The court finds that the transcript was ordered for use in the case of an Indigent person , that all rules and standards
    of the Ohio Public Defender Commission and State Public Defender have been met and that an Affidavit of lndigency/
    Financial Disclosure for the above referenced client has been sent to the Office of the Ohio Public Defender or is attached
    to this document.
       IT IS THEREFORE ORDERED that the transcript fees be, and are hereby approved in the amount of
       S 450.00      It is further ordered that the said amount be, and hereby is, ce · th e Court to the
    County Auditor for payment.
                      Andrew Nastoff
              Judge's Name (type or print)                                                                                              Date
                                                     AUDITOR'S CER
                     The County Auditor in executing this certificate attests that the transcript was a true and accurate expense of said
county's court.

       County Number                                    Warrant Number                                  Warrant Date
                            - - - - - ---- -                                - - -- - - --


OPD-E-205 Rev. (11196)                                                                  County Auditor's Signature




                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                          APPENDIX - Page 4810
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 36 of 86 PAGEID #: 4845



                                           IN THE COURT OF COMMON PL .J
                                                BUTLER COUNTY, OHIO                                                 ~
                                                                                                      C.- :I ,- mv ~0
                                                           FILED BUtL~~o: CR83-12-0614
                                                                                                      ~ .r L '--·
                                                                                                             .- '       '~'
                                                                                                                         v
               STATE OF OHIO,                             COURr O~ APPEALS                       70nq JUN-3 AM10: 3-;
                                                          vJN n-~ 2009
                        Plaintiff,
                                                                                      ... i:d T •.JL J' .. ~'I L.i,
               vs.                                                                         U TL[ R C0Uti TY
                                                                                -------+8~-++
                                                                                                  rt ERK OF rP! HHS
                                                                                -----------------
               YON CLARK DAVIS
                                                                    Judge Andrew Nastoff
                        Defendant.

                                                                    ORDER TO PAY FOR TRANSCRIPTS



                     The Court, in the interest of justice, orders that transcripts be made and the cost
             therefore shall be paid by the County Treasurer and taxed as costs in this case.

           Type of Hearing           MOTION HEARING                  Date 4-8-09       Number of Pages:   60
           Type of Hearing                                              Date           Number of Pages:
           Type of Hearing                                              Date           Number of Pages:
           Type of Hearing                                              Date           Number of Pages:
           Type of Hear ing                                             Date           Number of Pages:
           Type of Hearing                                              Da te          Number of Pages:


                         TOTAL PAGES:                60      at $ 7.50 per page =     $ 450.00



                               TOTAL AMOUNT DUE:                       $450.00


             The C lerk of this Court shall certify the amount of said transcript, which certificate shall
             be a sufficient voucher to the County Auditor, who shall forthwith draw her warrant upon
             the County Treasurer in favor of JILL CUTTER Butle r County Assistant Court
             Reporter, who prepared the transcript.

                        SAID PAYMENT TO BE PAID OUT OF ACCOUNT NUMBER:
                                               0001 .0372.110000.130000020

   Said transcript was prepared by        JILL CUTTER                SSN           XXX-XX-XXXX            May
                                      - -- -- - - - - - - - - - -




                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 4811
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 37 of 86 PAGEID #: 4846


                                                                                            IMAGED


                                              IN THE COURT OF COMMON PLEAS
                                                                                            ..   . - ..."
                                                                                            • ~- ._. t-J
                                                                                                        ...   ~


                                                   BUTLER. COUNTY, OHIO  .. 1:1· ~·•r
                                                                                 1
                                                                                                     S !.'((0· 13
                                                                                •    ' ' './J"'
                                                                                                                  - "'
                        TATE OF OHIO,                                                            f

                                                                                    LL . L._~~('lli                V
                          Plaintiff,                                case No. cR f9sa:i~~61~                        is


                        ON CLARK DAVIS                              Judge Nastoff

                          Defendant.



                              VON CLARK DAVIS' MOTION TO EXPEDITE RULING



                                Von Clark Davis moves this Court to convene the Panel previously

                        esignated herein for purposes of ruling on the Defendant's May 8, 2008

                        otion in Limine. Mr. Davis has attached a memorandum in support that he

                       ·ncorporates herein.

                        espectfully submitted,



                                                             ' 'fl~         Coa.._~
                                                               Me ynda Cook-Re1ch (SC# 0066596)
                                                              REPPER,PAGAN,COOK
                                                              Attorney for Defendant
                                                              1501 First Avenue
                                                              Middletown, OH 45044
                                                              (513) 424- 1823; Fax (513)424- 3135
Repper, Pagan,
Cook, Ltd.
Attorneys at Law
1501 First Avenue
                                                              and
Middlelown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135




                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 4812
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 38 of 86 PAGEID #: 4847




                                                                      ~?O(ihL~d~J?::
                                                                       Randall Porter (SC#0005835)
                                                                       Assistant State Public Defender
                                                                       Office of the Ohio Pub lic Defender
                                                                       250 East Broad Street, Suite 1400
                                                                       Columbus, Ohio 43215
                                                                       (614) 466-5394 (Voice)
                                                                       (614) 644-0703 (Facsimile)
                                                                       PorterR@O PO. state. 0 H . US


                                                                       COUNSEL FOR VON CLARK DAVIS

                                                 MEMORANDUM IN SUPPORT

                                 The prosecution has provided discovery that indicates that it m ay call

                           witnesses concerning the 1970 offense that resulted in the Mr. Davis' 1971

                          viction for wh at was t h en second degree murder. The 197 1 conviction is the

                       n ly cap ital specification in this case.

                                  On May 8, 2009, Mr. Davis filed a motion in limine to limit the

                          secution 's eviden ce con cerning the 1971 conviction. 1 Mr. Davis adopted the

                         sition therein that the only admissible evidence is a certified copy of the court

                         try find ing Mr. Davis guilty of the 1970 offense.2 Mr. Davis h as based his t rial

                                   non the premise that the Panel would so limit the evidence.




                       I Mr. Davis will not, in this pleading, a rgue the merits of his m otion in limine. He h a s
                       already done tha t in his May 8, 2009 motion.
                       2 The irony of this situation shou ld not be overlooked. When Mr. Davis was con victed in
                       1971 , he pled guilty and there was no trial. In 1984, when this case was first tried , the
Repper, Pagan,         prosecutor pursuant to a stipulation, entered only the certified entry of th e court entry to
Cook, Ltd.
Anomeys at Law
                       prove the 197 1 conviction . Now, thirty-nine years after the 1970 murder, the prosecutor for
1501 First Avenue      the first time suggests that he n eeds to factually prove the 1970 murder. This is after Mr.
Middletown, OH 45044
Phone: 513.424 .1823
                       Davis previously pled guilty to the murder and years later in a separate proceeding
FAX: 513.424.3135      stipulated to t h e murder.


                                                                  2



                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4813
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                           MR. DAVIS IS ENTITLED TO FAIR NOTICE AS TO THE PROCEEDINGS

                                 "No principle or procedural due process is more clearly established

                        than that of notice of the specific charge, and a chance to be heard in a trial of

                        the issues raised by t h at charge, if desired ..." Cole v. Arkansas ( 1948), 333

                        U .S. 196, 201. The nature of the charge must be made known to the accused

                        before the proceedings commence. The charges may not become a trap wh en,

                        after the proceedings are underway, the charges are amended based upon the

                        testimony adduced. In re Ruffalo (1968), 390 U.S. 544, 551.

                                 In this case Mr. Davis does know the n ature of the char ges. However,

                        h e d oes not know the procedu re that the Panel will invoke with respect to proof

                         s to the single aggravating circumstance. He doe not know if he will need to

                         onfront witnesses and call witnesses on his own behalf. This lack of notice as

                        to the requisite procedure is as prejudicial to h im as the lack of n otice in the

                          ore traditional sense. Under either scenario he does not know how to prepare.

                         . MR. DAVIS IS ENTITLED TO PRESENT A DEFENSE

                                 The Due Process Clause of the Fourteenth Amendment gua rantees the

                         ccused of a fair trial. It gives him the right to put on evidence in his favor to

                         xculpate himself. Specht v. Patterson (1 967), 386 U.S. 605, 610. It gives him

                        h e right to call witnesses on his own behalf.   Jenkins v. McKeithen, 395 U .S .

                         11, 429 (1969) . The right to present evidence is a crucial component of due

                         rocess, "a person's right to ... a n opportunity to be heard in his d efense - a
Repper, Pagan,
Cook, Ltd.              ight to his day in court - are basic in our sy stem of jurisprudence; and these
Attorneys at Law
150 I Fir.;t Avenue
Mictctletown, OH45044   ights include, as a minimum, a right to examine the witnesses a gainst him
Phone: 513.424.1823
FAX: 513 .424.3135



                                                             3



                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4814
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                       [and[ to offer testimony ... ." In re Oliver (1948), 333 U.S. 257, 273. "The right

                          offer the testimony of witnesses, and to compel their attendance, if

                            ssary, is in plain terms the right to present a defense, the right to present

                           defendant" version of the facts as well as the prosecution" to the jury so it

                            decide where the truth lies. Just as an accused has the right to confront

                           prosecution" witnesses for the purpose of challenging their testimony, he

                           the right to present his own witnesses to establish a defense. This right is

                        fundamental element of due process of law." Washington v. Texas (1967), 388



                                 In this case because Mr. Davis is unaware of the procedures that

                               will employ with respect to the proof of the single aggrava ting

                             HQ'""'"'~""• he is unable to present a d efense. He does not know if th e Panel

                           permit the 1970 homicide to be fully litigated. If this is the position of the

                               then he will need to be prepare to call witnesses on his own behalf. He

                           need to examine the benefit of calling a pathologist as well as any of the

                        ther witnesses in the vicinity of the shooting or with wh om he in teracted prior

                         or subsequent to the shooting.3

                          MR. DAVIS IS ENTITLED TO EFFECTIVE ASSISTANCE OF COUNSEL

                                 Mr. Davis is en titled to effective assista nce of counsel. Strickland v.

                       Washington, 466 U.S. 668, 686 (1 984). Th at right to effective a ssistance of

                        ounsel obligates defense counsel to conduct a reasonable investigation. Id. a t


Attorneys at Law
                        If the Panel decides to permit the Prosecution to call one or more witness es as t o the 1971
1501 First Avenue          viction, that decision alone may by itself effectively preclude Mr. Davis from pres enting a
Middletown, OH 45044              Mr. Davis, because the offense occurred so distant in time, will h a ve little
Phone: 513.424.1823
FAX: 513.424.3135                    opportunity to defend himself.


                                                                    4



                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 4815
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                  91. If the prosecution is permitted to call fact witnesses to establish the 1971

                  onviction, counsels' obligation will be expanded to include a full investigation

                  f the 1970 offense. A reasonable investigation entails interviewing potential

                  rosecution witnesses, the identification of witnesses who the defense may wish

                 o call, and the retention of necessary experts. Workman v. Tate, 957 F.2d

                 1339, 1345-46 (6th Cir. 1992); Blackburn v. Foltz, 828 F.2d 1177, 1182-83 (6th

                  ir. 1987); Teny v. Rees, 985 F .2d 283, 284 (6th Cir. 1993); Richey v.

                  radshaw, 498 F.3d 344 , 362-64 (2007).

                          The purpose of this motion is to insure that counsel is prepared.

                  ounsel will only be prepared if they know sufficiently in advance the scope of

                 he eligibility phase. As of the date of the filing of this motion Counsel are

                  nclear as to the scope.        This present issue does not involve the common

                 cenario in which there is a question of whether the prosecution will be

                  ermitted to call a specific witness. If that was the situation, Counsel could

                  dequately prepare, without the Panel's expedited ruling. Instead, Mr. Davis in

                  is motion in limine as the Panel to address whether the prosecution will be

                  ermitted to put on a full trial as to the 1970 offense.4

                          WHEREFORE, Mr. Davis requests this Court to convene the three

                 'udge Panel as expeditiously as possible so that counsel may have the benefit of

                 he Panel's ruling. Counsel neither wishes to expend time prepa ring for a tria l

                  hase that will not take place nor conduct an unreasonable and incomplete
Repper, Pagan,
Cook, Ltd.       ·nvestigation as to a trial phase that will take place.
Atcomeys at Law
1501 First Avenue - H-- - - - - - - - -
Middletown, OH 45044 4
Phone: 513.424.1823
                       The United States Supreme Court has determined the two phases of a   capital ca se a re
FAX: 513.424.3 135   comparable to two separate trials. Strickland, 466 U.S. at 686 .


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                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 4816
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                                                             Respectfully submitted,



                                                            ~            ~~
                                                            Melyn a Cook-Re1ch (SC# 0066596)
                                                             REPPER, PAGAN, COOK
                                                             Attorney for Defendant
                                                             1501 First Avenue
                                                             Middletown, OH 45044
                                                             (513) 424-1823; Fax (513)424-3 135


                                                             and



                                                            z~?Oltw          )~
                                                             Randall Porter (SC#0005835)
                                                             Assistant State Public Defender
                                                             Office of the Ohio Public Defender
                                                             250 East Broad Street, Suite 1400
                                                             Columbus, Ohio 43215
                                                             (614) 466-5394 (Voice)
                                                             (614) 644-0703 (Facsimile)
                                                             PorterR@OPD.state .OH.US


                                                             COUNSEL FOR VON CLARK DAVIS



                                              CERTIFICATE OF SERVICE

                               I hereby certify that a true copy of the foregoing was delivered via
                       and delivery to Daniel G. Eichel, Assistant Butler County Prosecuting
                       ttorney, and Michael A. Oster, Jr. Assistant Butler County Prosecuting
                       ttorney by leaving same at the Office of the Butler County Prosecuting
                       ttorney, 1 ph Floor, 315 High Street, Hamilton, Ohio 45011 , on this day
                       ugust _5th_ , 2009.

Repper, Pagan,
                                                            'i~~~~
Cook, Ltd.                                                   Melynda Cook-Reich (SC# 0066596 )
A«omeys at Law
ISOI First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135



                                                        6



                                                                         VON CLARK DAVIS v. WARDEN
                                                                              CASE NO. 2:16-cv-00495
                                                                               APPENDIX - Page 4817
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                 CINDY CARPENTER           ,.:~ ~lf¥K OF COURTS
                             trl ~.Uf> I g n11
     WITNESS INFORMATION                                      I   h   '




     NAME: ScottNowack
                                             Blll LU~ co·~[l t~
                                         r t ~='\ll'i (\r f.,\Ui.lS
     ADDRESS: c/o Ohio State Penitentiary
              878 Coitsville Hubbard Rd.
     CITY:      Youngstown                       STATE: OH                ZIP: 44505-4635

     Today's Date:    August 7, 2009      Case No.: CR 1983-12-0614

     Plaintiff: State of Ohio      VS .           Defendant: Von Clark Davis

                                PRAECIPE FOR SUBPOENA
                               Criminal- Trial and Duces Tecum
                     COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

     ___Certified Mail                    ___.Personal Service by Butler County Sheriff

       ~       Appointed Process Server ___ Foreign County Sheriff

      )( )(    Attorney Service

     The above named Witness is commanded to appear in the Common Pleas Court of Butler
     County, Ohio at the Government Services Center, 3rd Floor, 315 High Street, Hamilton, Ohio
     45011 as follows:

              DATE: 9/8/09 through 9/11/09                                TIME: 9:00 a.m.
                                                                          until released by attorney.

              JUDGE: Nastoff

    THE WITNESS lS ORDERED TO BRING THE FOLLOWING DOCUMENTS:

    Certified copies of the Institutional Summary Report of Von Clark Davis (Inmate #A-179828)
    dated 4/2 7/09.

                                                 REQUESTING ATTORNEY
                                                 Name: Randall Porter
                                                 Office of the Ohio Public Defender
                                                 250 East Broad Street, Suite 1400
                                                 Columbus, Ohio 432 15
                                                 (614) 466-5394 (Voice)
                                                 (614) 644-0703 (Facsimile)




                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 4818
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 44 of 86 PAGEID #: 4853




                        CINDY CARPENTER                     CLERK OF COURTS

      WITNESS INFORMATION
                                                                                   ."·.n.~1 ·1I 1'~1 '.J ·". , l, 9   Ml ~: !d)
      NAME: Cynthia Mausser
      ADDRESS: c/o Ohio Parole Board
               770 West Broad Street
      CITY:      Columbus                        STATE: OH

      Today's Date:    August 7, 2009         Case No.: CR 1983-12-0614

      Plaintiff: State of Ohio     vs.           Defendant: Von Clark Davis

                                PRAECIPE FOR SUBPOENA
                                     Criminal- Trial
                      COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

      TYPE OF SERVICE:

      - - -Certified Mail                 ___Personal Service by Butler County Sheriff

      ___Appointed Process Server         ___ Foreign County Sheriff

       XXX Attorney Service

      The above named Witness is commanded to appear in the Common Pleas Court of Butler
      County, Ohio at the Government Services Center, 3 rd Floor, 315 High Street, Hamilton, Ohio
      45011 as follows:

             DATE: 9/8/09 through 9/11109                                      TIME: 9:00 a.m.
                                                                       until released by attorney.

             JUDGE: Nastoff

      THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS :


                                                 REQUESTING ATTORNEY
                                                 Name: Randall Porter
                                                 Office of the Ohio Public Defender
                                                 250 East Broad Street, Suite 1400
                                                 Columbus, Ohio 43215
                                                 (614) 466-5394 (Voice)
                                                 (614) 644-0703 (Facsimile)




                                                                        VON CLARK DAVIS v. WARDEN
                                                                             CASE NO. 2:16-cv-00495
                                                                              APPENDIX - Page 4819
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 45 of 86 PAGEID #: 4854




                        CINDY CARPENTER                     CLERK OF COURTS                           '   ::    r··
                                                                                                      "   j._   tJ
      WITNESS INFORMATION

      NAME: Carol A. Smith                                                                .. , i q.
                                                                        rNA~~!)
      ADDRESS:                                                                             3UTUJ; .i) ~~~1-l y
      CITY:      Forest Park                STATE: OH           ZIP: 45240               ~-:1 F:~"<r: r/- r.n 1r'TS

      Today' s Date:           August 7, 2009     Case No.: CR 1983-1 2-06 14

      Plaintiff: State of Ohio       vs.          Defendant: Von Clark Davis

                                 PRAECIPE FOR SUBPOENA
                                      Criminal- Trial
                       COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

      TYPE OF SERVICE:

       ,'>(   Certified Mail                ~     Personal Service by Butler County Sheriff
          '
      _ _ _ Appointed Process Server        _ _ _ Foreign County Sheriff

      _ _ _ Attorney Service

      The above named Witness is commanded to appear in the Common Pleas Court of Butler
      County, Ohio at the Government Services Center, 3'd Floor, 3 15 High Street, Hamilton, Ohio
      45011 as follows:

              DATE: 9/8/09 through 9/11109                      TIME: 9:00 a.m. each day
                                                                     until released by attorney.

              JlJDGE: Nastoff


      THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS:

                                                  REQUESTING ATTORNEY
                                                  Name: Melynda Cook-Reich
                                                  Repper, Pagan, Cook Ltd.
                                                  150 I First A venue
                                                  Middletown, OH 45044
                                                  51 3-424-1823; Fax (5 13) 424-3135




                                                                        VON CLARK DAVIS v. WARDEN
                                                                             CASE NO. 2:16-cv-00495
                                                                              APPENDIX - Page 4820
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                         CINDY CARPENTER                                 . ~ LERK OF COURTS
                                           7"flt:l f.'.J r: , 9 r.i1 -: '-14
     WITNESS INFORMATION                                                                            W.AGFD

     NAME: Jerome Stineman
     ADDRESS:

     CITY:            Cincinnati          STATE: OH                              ZIP: 45208

     Today' s Date:           August 18, 2009        Case No.: CR 1983-1 2-06 14

     Plaintiff: State of Ohio       VS.              Defendant: Von Clark Davis

                                PRAECIPE FOR SUBPOENA
                                     Criminal- Trial
                      COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

      X      Certified Mail                X         Personal Sen7ice by Butler County Sheriff

    ·- - - Appointed Process Server        ___ Foreign County Sheriff

    ___.A ttorney Service

    The above named Witness is commanded to appear in the Common Pleas Court of Butler
    County, Ohio at the Government Services Center, 3rd Floor, 315 High Street, Hamilton, Ohio
    45011 as follows:                                                                 ,.
                                                                                                     •' '
                                                                                                             ..
                                                                                                            ~~


             DATE: 9/8/09 through 9/ll/09                                             TIME: 9:00 a.m. each day
                                                                                      until released by attorney.

             JUDGE: Nastoff


    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS :

                                                    REQUESTING ATTORNEY
                                                    Name: Me1ynda Cook-Reich
                                                    Repper, Pagan, Cook Ltd.
                                                    150 1 First Avenue
                                                    Middletown, OH 45044
                                                    513-424- 1823; Fax (513) 424-3135




                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 4821
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                       CINDY CARPENTER                    CLERK OF COURTS
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     WITNESS INFORMATION

     NAME: Alluster Ti                                                            f3 UJ i_ f- I! :, c! .el! lI ' , I! ::'.,- '
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                                                                               (' /

     ADDRESS:                                                                                                             '.
     CITY:      Forest Park                     STATE: OH            ZIP: 45240

    Today's Date:            August 7, 2009     Case No.: CR 1983- 12-06 14

     Plaintiff: State of Ohio      VS.          Defendant: Von Clark Davis

                               PRAECIPE FOR SUBPOENA
                                    Criminal- Trial
                     COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

    TYPE OF SERVICE:

       >(   Certified Mail                ~     Personal S~rvice by Butler County Sheriff

    ___ Appointed Process Server          ___ Foreign County Sheriff

    _ _ _Attorney Service

    The above named Witness is commanded to appear in the Common Pleas Court of Butler
    County, Ohio at the Government Services Center, 3'd Floor, 315 High Street, Hamilton, Ohio
    4501 I as follows:

            DATE: 9/8/09 through 9/11/09                             TIME: 9:00 a.m. each day
                                                                     until released by attorney.

            JUDGE: Nastoff


    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS :

                                               REQUESTING ATTORNEY
                                               Name: Melynda Cook-Reich
                                               Repper, Pagan, Cook Ltd.
                                               1501 First Avenue
                                               Middletown, OH 45044
                                               513-424-1 823; Fax (5 13) 424-3135




                                                                       VON CLARK DAVIS v. WARDEN
                                                                            CASE NO. 2:16-cv-00495
                                                                             APPENDIX - Page 4822
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                           CINDY CARPENTER                      CLERK OF COURTS

     WITNESS INFORMATION
                                                                                            I   "ii L· f       •

     NAME: Sherry Davis                                                                     euTLL:r<c,_,· ~ · ry
     ADDRESS:                                                                              Clt"RK r:w r.lli:' TS
     CITY:      Forest Park                     STATE: 01-I         ZIP: 45240

     Today' s Date:                August 7, 2009     Case No.: CR 1983-1 2-0614

     Plaintiff: State of Ohio            VS.          Defendant: Von Clark Davis

                                  PRAECIPE FOR SUBPOENA
                                       Criminal- Trial
                        COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

     -'-X...,.,___Certifie9 Mail                •     Personal Service by Butler County Sheriff            ~

     _ __ Appointed Process Server              _ __ Foreign County Sheriff

     _ _ _Attorney Service

     The above named Witness is commanded to appear in the Comm on Pleas Court of Butler
     County, Ohio at the Government Services Center, 3'd Floor, 315 High Street, Hamilton, Ohio
     45011 as follows:

              DATE: 9/8/09 through 9/11/09                                 TIME: 9:00 a.m. each day
                                                                           until released by attorney.

             JUDGE: Nastoff


    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS:

                                                      REQUESTING ATTORNEY
                                                      Name: Melynda Cook-Reich
                                                      Repper, Pagan, Cook Ltd.
                                                      1501 First A venue
                                                      Middletown, OH 45044
                                                      513-424-1823; Fax (5 13) 424-3 135




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4823
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 49 of 86 PAGEID #: 4858




     WITNESSINFO~TION
                       CINDY CARPENTER
                                                    .:,......
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                                                                    '·- t
                                                                         CLERK OF COURTS
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     NAME: Rick Rotundo
     ADDRESS:                                                   .    .        ..
     CITY:      Loveland                    -' ~ SrliJ\T~ OPI Y'(                  ZIP: 45 140
                                               ~CI~L~~ 'nr fil l •q.TS
                                             r\ r-r ' u
     Today's Date:    August 7, 2009        Case No .: CR 1983-12-0614

     Plaintiff: State of Ohio     vs.           Defendant: Von Clark Davis

                               PRAECIPE FOR SUBPOENA
                                    Criminal- Trial
                     COURT OF COMMON PLEAS, BUTLER CO UNTY, OHIO

     TYPE OF SERVICE:

      i.    Certified Mail              ~      Personal Service by Butler County Sheriff

    ___.Appointed Process Server        ___ Foreign County Sheriff

    ___.Attorney Service

    The above named Witness is commanded to appear in the Common Pleas Court of Butler
    County, Ohio at the Government Services Center, 3'd Floor, 3 15 High Street, Hamilton, Ohio
    45011 as follows:

            DATE: 9/8/09 through 9/ 11/09                                                  TIME: 9:00a.m.
                                                                                   until released by attorney.

           JUDGE: Nastoff

    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS:


                                                REQUESTING ATTORNEY
                                               Name: Randall Porter
                                               Office of the Ohio Public Defender
                                               250 East Broad Street, Suite 1400
                                               Columbus, Ohio 432 15
                                               (6 14) 466-5394 (Voice)
                                               (6 14) 644-0703 (Facsimile)




                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
                                                                                          APPENDIX - Page 4824
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 50 of 86 PAGEID #: 4859




                       CINDY CARPENTER                       CLERK OF COURTS

     WITNESS INFORMATION
                                                     l IY•'A~~""
                                                            ""r. -.,~ ?D~q ~,l jf::.) I q- f'•.~~ O· ~~ 5


     NAME: Victor Davis                                                      JsU'1 I t.l( ciJUth Y
     ADDRESS :                                                               CLERl\ OF cntWT S
     CITY:      Hamilton                 STATE: OH               ZIP: 45013

     Today's Date:          August 7, 2009      Case No.: CR 1983-12-0614

     Plaintiff: State of Ohio     vs.           Defendant: Von Clark Davis

                                PRAECIPE FOR SUBPOENA
                                     Criminal- Trial
                     COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

     ___Certified Mail                   XX    Personal Service by Butler County Sheriff

     _ __ Appointed Process Server               Foreign County Sheriff

     _ _ _Attorney Service

     The above named Witness is commanded to appear in the Common Pleas Com1 of Butler
     County, Ohio at the Government Services Center, 3rd Floor, 315 High Street, Hamilton, Ohio
     45011 as follows:

            DATE: 9/8/09 through 9/11109                                  TIME: 9:00 a.m. each day
                                                                          until released by attorney.

            JUDGE: Nastoff


    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS:

                                                REQUESTING ATTORNEY
                                                Name: Melynda Cook-Reich
                                                Repper, Pagan, Cook Ltd.
                                                I 501 First Avenue
                                                Middletown, OH 45044
                                                5 13-424-1 823 ; Fax (513) 424-3 13 5




                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 4825
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                                                     r'' D·J.. 4S~CLERK OF COURTS
                                                     11
                                                          .


     WITNESS INFORMATION

     NAME: Elliot Butch Davis
     ADDRESS:
     CITY:       Hamilton                STATE: OH              ZIP: 45011

     Today's Date: August 7, 2009        Case No.: CR 1983-12-0614

     Plaintiff: State of Ohio     VS .          Defendant: Von Clark Davis

                               PRAECIPE FOR SUBPOENA
                                    Criminal- Trial
                     COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

     TYPE OF SERVICE:

     _ _ _Certified Mail                 XX     Pers_smal Service by Butler County Sheriff

     _ __ Appointed Process Server       ___ Foreign County Sheriff

     _ _ _Attorney Service

     The above named Witness is commanded to appear in the Common Pleas Court of Butler
     County, Ohio at the Government Services Center, 3rd Floor, 315 High Street, Hamilton, Ohio
     45011 as follows:

            DATE: 9/8/09 through 9/11/09                              TIME: 9:00 a.m. each day
                                                                      until released by attorney.

            .JUDGE: Nastoff


    THE WITNESS IS ORDERED TO BRING THE FOLLOWING DOCUMENTS :

                                                REQUESTING ATTORNEY
                                                Name: Mel ynda Cook-Reich
                                                Repper, Pagan, Cook Ltd.
                                                1501 First Avenue
                                                Middletown, OH 45044
                                                513-424- 1823; Fax (513) 424-3 135




                                                                       VON CLARK DAVIS v. WARDEN
                                                                            CASE NO. 2:16-cv-00495
                                                                             APPENDIX - Page 4826
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                                           IN THE COURT OF COMMON PLEAS
                                                BUTLER COUNTY, OHIO

                       STATE OF OHIO,

                             Plaintiff,

                       vs.



                       VON CLARK DAVIS                       Judge Nastoff

                             Defendant.



                                          OUT OF STATE WITNESS APPLICATION



                             Von Clark Davis moves the Court to issue a Certificate to be presented

                       to a Judge of the Montgomery Circuit Court in Rockville Maryland, pursuant

                       to §2939.27 of the Ohio Revised Code, requiring the attendance of Delb ert

                       Flowers,                           Gaithersburg, Maryland, 20878-3579, as a

                       material witn ess in the capital resentencing hearing about in Butler County,

                       Ohio. The presence and attendance of said Delbert Flowers will be required at

                       9:00 a.m. on September 9, 2009, u n til the conclusion of required testimony

                       th at day. The State of Maryland has enacted the uniform law entitled,

                       Summoning Witnesses to Testify in Another State, Maryland Code Ann § 9 -302

                       (2009).

                             It is not recommended that the aforesaid witness be taken into immediate
Repper, Paga n,
Cook, Ltd.
Atlomeys at Law        custody.
ISO I First Avenue
Middletown, OH 45044
Phone: 513.424.1 823
FAX: 513.424.3135




                                                                       VON CLARK DAVIS v. WARDEN
                                                                            CASE NO. 2:16-cv-00495
                                                                             APPENDIX - Page 4827
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 53 of 86 PAGEID #: 4862




                                                Respectfully submitted,



                                                ·~~ ~%_,
                                                Me ynd Cook-Re1ch (SC#0066596)
                                                REPPER, PAGAN, & COOK
                                                1501 First Avenue
                                                Middletown, OH 45044
                                                (513) 424-1823 (Voice)
                                                 (513)424-3135 (Facsimile)


                                                and



                                               ~tO ;tn~C¥'-
                                                Randall Porter (SC#0005835)
                                                Assistant State Public Defender
                                                Office of the Ohio Public Defender
                                                250 East Broad Street, Suite 1400
                                                Columbus, Ohio 43215
                                                (614) 466-5394 (Voice)
                                                (614) 644-0703 (Facsimile)
                                                PorterR@OPD.state.OH.US


                                                COUNSEL FOR VON CLARK DAVIS




Repper, Pagan,
Cook, Ltd.
Attorneys at Law
1501 First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 51 3.424 .3 135



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                                                            VON CLARK DAVIS v. WARDEN
                                                                 CASE NO. 2:16-cv-00495
                                                                  APPENDIX - Page 4828
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 54 of 86 PAGEID #: 4863




                                                  CERTIFICATE OF SERVICE

                              I hereby certify that a true copy of the foregoing was delivered via hand

                        delivery to Daniel G. Eichel, Assistant Butler County Prosecuting Attorney, and

                        Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving

                        same a t the Office of the Butler County Prosecuting Attorney, 11th Floor, 31 5

                        High Street, Hamilton, Ohio 45011 , on this day Augus t   /8 1~009.




Repper, Pagan,
Cook, Ltd.
Attomeys at law
150 1 First Avenue
Middletown, Oli 45044
Phone: 513.424.1823
FAX: 51 3.424.3135



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                                                                         VON CLARK DAVIS v. WARDEN
                                                                              CASE NO. 2:16-cv-00495
                                                                               APPENDIX - Page 4829
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 55 of 86 PAGEID #: 4864



    STATE OF OHIO
                                                  :·--:."\ "       .     CASE NO. CR 1983-1:£-0614

             Plaintiff                           • : i :_              : sTTE OF OHIO                !~AGED
                                         ~ ,..         :                 COUNTY OF BUTLER
    vs.                                 2!']; !: ::'] 2 /              pJf.Q!JRT OF COMMON PLEAS

                                         C.. ' ) i' :       (rfjJoff, J.)
                                           I               I"' '
                                          , ·.. ·, i ·. RPEHJ.Fn
    VON CLARK DAVIS                     C' ~.~ ,,. 1 : COUMrjfo'f'E'S SUPPLEMENTAL DISCOVERY
                                          ._.._,, 11   :01-" cou~7i21I09>
                                                                I\'-( ,)
             Defendant




          Now comes the Prosecuting Attorney, and supplement ing its previous discovery, discloses the following:




    A.                   STATEMENTS DISCOVERABLE, Crim inal Rule 16(B)(1) (a):

                         No new statements

    B.                   DEFENDANT'S PRIOR CRIMINAL RECORD, Criminal Rule 1 6(B)(1)(b) :

                         The defendant's known criminal record has been previously disclosed.

    c.                   DOCUMENTS AND TANGIBLE EVIDENCE, Criminal Rule 16(B)(1)(C):

                         Medical Illustrations of Wounds To Ernestine Davis(8).

    D.                   REPORTS OF EXAMINATIONS OR TESTS, Criminal Rule 16(B)(1)(d):

                         Have all been previously disclosed .

    E.                   WITNESSES' NAMES AND ADDRESSES, Criminal Rule 16(B)(1)(e):
                         The Prosecuting Attorney intends to call the following at trial:

                         Lisa Link (address and curriculum vitae, if needed, to be supplemented)

                         KNOWN FELONY RECORD OF CONVICTION FOR WITNESSES:

    F.                   FAVORABLE EVIDENCE DISCOVERABLE, Criminal Rule 16(B)(1)(f):

                         There is no evidence materi al to guilt or punishment and favorable to this defendant known
                         to the Prosecuting Attorney as to this case.




                                          PROSECl!l'ING ATTORNEY, B trrLER COUNTY, 01110

                                                 P.O. BOX 515, H M IILTON, OH 45012-0515



                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
                                                                                                 APPENDIX - Page 4830
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 56 of 86 PAGEID #: 4865




                                                                Respectfully submitted,
                                                                ROBIN N. PIPER (0023205)
                                                                Butler County Prose ting Attorney




                                                                MIQ AE .         E ,
                                                                Ch(ef, Appellate Division
                                                                Government Services Center
                                                                3 15 High Street, 11th Floor
                                                                Hamilton, Ohio 45012-0515
                                                                Telephone: (513) 887-34 7 4




                                        CERTIFICATE OF SERVICE

                     This is to certify t hat a copy of t he foregoing Memorandum has been sent by
    ordinary U.S. mail and FAX to Attorneys for Defendant: Randall L. Porter, 8 East Long Street, 11th
    Floor, Columbus, OH 43215, and Melynda W. Cook- Reich, 1501 Fi rst Aven ue, Middletown, OH
    45044, on t his 21st day of August, 2009 .




                                   PROSECUTING ATTORNEY, B U TLER COUNTY, OHIO

                                       P.O. B ox 5 15, H AMILTON, OH 45012- 0515



                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 4831
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 57 of 86 PAGEID #: 4866




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                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 58 of 86 PAGEID #: 4867




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                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 4833
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 59 of 86 PAGEID #: 4868




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 4834
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 60 of 86 PAGEID #: 4869




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 4835
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 61 of 86 PAGEID #: 4870




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 62 of 86 PAGEID #: 4871




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                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 63 of 86 PAGEID #: 4872




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                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 64 of 86 PAGEID #: 4873




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                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 65 of 86 PAGEID #: 4874



    STATE OF OHIO                                                                                    CASE NO. CR 1983- 12-06 1 4
                                                                        .,
             Plaintiff
                                                                  .•• 1 •
                                                           .. --'"' ._        ...,                   STATE OF OHIO
                                                                                                     COUNTY OF BUTLER
                                                     .-.~           r: •- · "~ 'j~
                                        A!. V'     . 1--
    vs.                      ?_·'I'
                                 !d':t~ ~-  ..... {_ 'J
                                                                   r .. · •il . • C:.
                                                                   t "                               COURT OF COMMON PLEAS
                                                                                                     (Nastoff, J .)
                               •..,J   I.    I   •   ..·     '\         ••     :     . • ,_   J. '
    VON CLARK DAVIS                    "' i r '
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                                                    -- '                 1         : 1 1~ c:         STATE'S SUPPLEMENTAL DISCOVERY
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                                 Cl
                                 ' C.. ( ~I \ ' ··' :                                                (8/ 26/09)
             Defendant




          Now comes the Prosecut ing Attorney, and supplementing its previous discovery, discloses the following:




    A.                   STATEMENTS DISCOVERABLE, Criminal Rule 16(B)( 1)(a):

                         No new stat ements

    B.                   DEFENDANT'S PRIOR CRIMINAL RECORD, Crim inal Rule 1 6 (B)(1)(b):

                         The defendant's known criminal record has been previously disclosed .

    c.                   DOCUMENTS AND TANGIBLE EVIDENCE, Cri minal Rule 16(B)(1)(C):

                         Have all been previously disclosed.

    D.                   REPORTS OF EXAMINATIONS OR TESTS, Criminal Rule 16(B)(1)(d):

                         Have all been previously disclosed.

    E.                   WITNESSES' NAMES AND ADDRESSES, Crim inal Rule 16(B)(1)(e):
                         The Prosecuting Attorney intends to call t he following at t rial:

                         Lisa Link (curriculum vitae to be supplemented)

                         Cincinnat i, Ohio 4 53 29

                         KNOWN FELONY RECORD OF CONVICTION FOR WITNESSES:

    F.                   FAVORABLE EVIDENCE DISCOVERABLE, Criminal Rule 16 (B)(1)(f) :

                         There is no evidence material to gui lt or punishment and favorable t o this defendant known
                         to the Prosecuting Attorney as to this case.




                                                           P ROS ECUTING ATJ'OI!NEY, B UT LE R C OUN'IY, OHIO

                                                                        P .O . DOX 515 , HAMI LTON, O H 45012-0515



                                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                                              APPENDIX - Page 4840
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 66 of 86 PAGEID #: 4875




                                                                     Respectfully subm itt ed,
                                                                     ROBI N N. PIPER (0023205)
                                                                     Butler County Prosecut ing Attorney




                                          CERTIFICATE OF SERVICE

                     This is t o certify that a copy of t he foregoing Memorandum has been sent by
    ordinary U.S. mail and FAX to Attorneys for Defendant: Randa ll L. Porter, 250 East Broad St., Suite
    1400, Columbus, OH 43215, and Melynda W. Cook-Reich , 1501 First Avenue, Middletown, OH
    45044, on this 26th day of August, 2009.

    Fax# RP (614 ) 644-0708
         MC-R (513) 4 24-3135




                                    P RO SE CUTING A TTOIINE Y, B UT LE R COUNTY, 0 1-1 10

                                         P .O. BOX 515, H AMI LTON, O H 45012-0515



                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 4841
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 67 of 86 PAGEID #: 4876



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                                                 COU~l'f; 0~\COMMON PLEAS
                                    -"~ ~\f " \BU LER_COUNTY, OHIO
                                 :--,,,                             '             \ r.
      STATE OF OHIO               ,             .. •:. i.: \~,C~-0.. \,,
                                                  -           .         \.
                                                                                         CASE NO . CR1983-12-0614
                                          ~·.J \ ~; (\•
                     Plaintiff            "\1?-"''                                       NASTOFF, J.

      vs.                                                                                PRAECIPE FOR SUBPOENA FOR STATE' S
                                                                                         WITNESS(ES) . 1 SENTENCE HEARING
      VON CLARK DAVIS

                    Defendant

     TO THE CLERK:

     Please issue Subpoena(s) for the following person(s). or entities:
            Charles furman,               • • • • • Hamilton, OH 45013
            Dr. Joseph H. Brandabur, Deputy Coroner, Butler County Coroner' s Office, 315
                High Street, 6 1h Floor, Hamilton, OH 45011
            Lisa Link, • • • • • • • •• Cincinnati, OH 45239
     to appear and present testimony on behalf of the Prosecution at the Sentence Hearing in
     the above-captioned matter, in the Courtroom of Judge Andrew Nastoff, Butler County
     Government Services Building, 315 High St., Hamilton, OH 45011 , on September 08,
     2009, at 9 :00AM.



                                                                                          ROBIN PIPER
                                                                                          PROSECUTING ATTORNEY
                                                                                          BUTLER COUNTY, OHIO




      PLEASE RETURN TO THE PROSECUTOR' S OFFICE ASAP FOR SERVICE . THANKS




                                            PROSEC!TI1NG ATIORNEY, B ll11.ER COUNTY, OHIO
                                             P.O. Box 5 15, HAMILTON, OH 45012·0515



                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 4842
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 68 of 86 PAGEID #: 4877




                CINDY CARPENTER                                                              CLERK OF COURTS



         WITNESS SUBPOENA COPY:
        LISA LINK

        CINTI, OH 45239


        Date:      August 28, 2009                             Case No.: CR 1983 12 0614
                                              STATE OF OHIO VS VON CLARK DAVIS


                       SUBPOENA SERVED BY PROCESS SERVER
                   COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

        TYPE OF SUBPOENA: SENTENCE HEARING

        To the above named Witness: You are hereby commanded to appear in the Common Pleas Court of Butler
        County Ohio at the Government Services Center, 315 High Street, 3RD Floor, Hamilton, Ohio 45011.

                   DATE: SETPEMBER 8 2009                                                        TIME: 9:00 AM

                   JUDGE: NASTOFF

        You are required to attend and give testimony on behalf of the plaintiff/defendant in the above captioned
        case under penalty of law.

        To apply for payment for your services as a witness after testimony, bring this subpoena to the office of the
        Butler County Clerk of Courts.

        CINDY CARPENTER                                                                 REQUESTING ATTORNEY:
        Butler County Clerk of Courts                                                  NAME: ROBIN PIPER
                                                                                       ADDRESS: 315 HIGH ST
                                                                                       CITY & STATE: HAMIL TON OH
                                                                                       ZIP: 45011
                                                                                       PHONE: (513)887-3474
        By: SHONDA ERTEL
        Deputy Clerk

                                                               WITNESS CERTIFICATION
        I attest that I appeared to give testimony in the above captioned case. I was present in the Court of Common Pleas for _ _ _days.
        As an out of county witness, I traveled 2..(1        miles from the city of    4•1./(dAIIV~                               in the
        Stale     0/:f:.~                               .,
        SIGNATUR:~~
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        GOVERNMENT SERVICES CENTER e 315 HIGH STREET e SUITE 550 e HAMIJ;if<?,_N. OHI~OJ 1"6016

                                              BUTLER COUNTY CLERK OF COURTS                                                     I

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                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                              CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 69 of 86 PAGEID #: 4878




                                                                                               ...
                                                                                           ......    r~)
                            IN THE COURT OF COMMON PLEAS                                  ........
                                                                                          ,_
                                                                                       ,,:-     ".
                                 BUTLER COUNTY, OHIO

         STATE OF OHIO,
                                                                              ...     .              . '   \


               Plaintiff,                          Case No. CR 1983-12-061.4Ll ",.C9': , ('{
                                                                          · ·r-~, ~ !:fJJtr,: fS

         vs.



         VON CLARK DAVIS                           Judge Nastoff

                Defendant.



                    CERTIFICATE UNDER UNIFORM ACT TO
                 SECURE THE ATTENDANCE OF WITNESS FROM
                 WITHOUT A STATE TN CRIMINAL PROCEEDINGS

               Upon application of Von Clark Davis, pursuant to R.C . §2939 .27,

         the Uniform Act To Secure The Attendance Of Witnesses From Wit hout A

         State In Criminal Proceedings, the Court does issue the following

         CERTIFICATE under seal of this Court, pursuant to said statute a nd

         states the following, to-wit:

               1.     Tha t Delbert Flowers is, to the best of the k n owledge and

         b elie f of the undersigned, now p r esen t in the State of Maryland ,

         Montgomery     County     and   resides   at

         Gaithersburg, Maryland.

               2.     That this action is a criminal proceeding and 1s curren t ly

         pending in the Butler County Court of Common Pleas.




                                                                 VON CLARK DAVIS v. WARDEN
                                                                      CASE NO. 2:16-cv-00495
                                                                       APPENDIX - Page 4844
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 70 of 86 PAGEID #: 4879




                3.     That s aid Delbert Flowe r s is a materia l witn ess a nd requ ired

         by the defense in order to fairly present its case for Von Cla rk Davis .

                4.     That said witness will b e r equired to be in a tte n d ance for on e

         day on September 9 , 2009 at 9:00 a .m. in the Butler County Court of

         Common Pleas, Co urt, the C ourtroom of J u d ge Nastoff, G overn men t

         Services Building, Third Floor, 315 High S treet, Ha m ilton , Ohio, 4 501 1.

                5.     That the Butle r County Cou rt of Commo n Pleas is a cou rt of

         r ecord having general jurisdic tion to try felony ca se s a ris ing w ithin said

         County.

                6.     That the la ws of the State of Ohio a nd of any o the r Stat es

         through whic h Delbe r t Flowers a s a witness m a y be r equired to pass by

         the or dinary cour s e of travel, give him p rotection from arrest and the

         service of civil process in o bedien ce to t his sum m o n s directing h im to

         a ttend and t estify in the Sta t e of Ohio

                7.     Further , counsel for Von Clark Davis is directed to p ay the

         mileage and a tten dan ce fee for Delbert Flower s.

                8.     That t his      Certificat e   is   d ir ected   to    the Jud ge of t h e

         Montgom e ry Circu it Court in Mo n tgom ery County, Ohio.

                9.     It is not recommended tha t the a for esaid witness be t a ke

         into imme diate c u stod y.




         ENTER: g    /z_u /o '7


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                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4845
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 71 of 86 PAGEID #: 4880
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                                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                                           APPENDIX - Page 4846
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 72 of 86 PAGEID #: 4881
             2. Article Number




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             3. Service Type CERTIFIED MAIL

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                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                    APPENDIX - Page 4847
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 73 of 86 PAGEID #: 4882



    STATE OF OHIO                                               CASE NO. CR 1983-12-0614

             Plaintiff                                          STATE OF OHIO
                                                                COUNTY OF BUTLER
    vs.                                                         COURT OF COMMON PLEAS
                                                                (Nastoff, J .)
                                       '         I   •   '


    VON CLARK DAVIS             T'..'.i< CU.                    STATE'S SUPPLEMENTAL DISCOVERY
                           CLELl\ UF C                          (8/ 31}09)
             Defendant




          Now comes the Prosecuti ng Attorney, and su pplementi ng its previous discovery, discloses the foll owing:




    A.                   STATEMENTS DISCOVERABLE, Crim inal Rule 16(B) (1)(a):

                         No new statements

    B.                   DEFENDANT'S PRIOR CRIMINAL RECORD, Criminal Rule 1 6 (B)(1 )(b):

                         The defendant 's known crim inal record has been previously disclosed .

    c.                   DOCUMENTS AND TANGIBLE EVIDENCE, Crim ina l Rule 1 6 (B)(1)(C):

                         Have all been previously disclosed.

    D.                   REPORTS OF EXAMINATIONS OR TESTS , Crim inal Rule 1 6 (B)(1)(d):

                         Have all been previously disclosed.

    E.                   WITNESSES' NAMES AND ADDRESSES, Crimina l Rule 1 6(B)(1 )(e):
                         The Prosecuting Att orney intends to call t he following at t rial:

                         Lisa Link, Curriculum Vitae


                         KNOWN FELONY RECORD OF CONVICTION FOR WITNESSES:

    F.                   FAVORABLE EVIDENCE DISCOVERABLE, Criminal Rule 16(B)(1)(f) :

                         There is no evidence mat erial to guilt or punishment and favorable t o t his defendant known
                         to the Prosecuting Attorney as to t his case.




                                           P ROSECUTING ATI'ORNEY, B UTLER C OUNTY, O H IO

                                               P .O. B OX 515, H AMILTON, OH 45 012 -0 515



                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 4848
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 74 of 86 PAGEID #: 4883




                                                                                          '   . (0076491)
                                                                   C 1ef, Appellate Division
                                                                  Govern ment Services Center
                                                                  315 High Street, 11th Floor
                                                                  Hamilton, Ohio 45012-0515
                                                                  Telephone: (513) 887-34 7 4




                                         CERTI FICATE OF SERVICE

                    This is to certify that a copy of the foregoi ng Memorandu m has been sent by
    ordinary U.S. mail and FAX to Attorneys for Defendant: Randa ll L. Porter, 250 East Broad St., Suite
    1400, Columbus, OH 43215, and Melynda W. Cook-Reich , 1501 Fi rst Avenue, Middletown, OH
    45044, on this 31st day of August, 2009.

    Fax# RP (614) 644-0708
         MC-R (513) 424-3135




                                    l' llOSECUT ING AlTOHNEY, B UTLEH COUNTY, O HIO

                                        P .O. B OX 515, HAMI LTON, 01-l 45012-0 515



                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4849
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-38 Filed: 08/08/16 Page: 75 of 86 PAGEID #: 4884




                                                           Li sa Li nk
                                                • • • • • • •. Cincinnati , OH 45239




         EXPERIENCE
         ·---·-· · · · - · - - · - - - - - · - · - - - - - - - -
                          Lisa Li nk Illustration/Design
                          1999 - Present
                             Medical illustrator
                                   Textbook 1llustrat1on for med ical professionals
                                   Illustration depicting surgical procedures
                                   Scientific illustration for promotional purposes
                                   Illustration for medical journal submissions
                                   Medical legal illustration

                             Designer
                                   Promotional material
                                   Ad des ign
                                   Recrui tment material for University of Cincinnati Co llege of Medicine


                          Division of Plast ic and Reconst ru ctive Su rgery , UC Phy sicians
                          2003 · Present
                             Medical illustrator
                                   Weekly conference presentat ion on upcoming cases
                                   Digital database maintenance


                          University of Cincinna ti Art and Design
                          1998 . 1999
                             Med1cal illustrator
                                · Medical and scientific illustration for UC faculty and staff


                          University of Cincinnati Art and Design
                          1996 - 1998
                             Medical illustrator, paid internshi p
                                · Medical and scientific illustration for UC faculty and staff


         EDUCATION
                          Bachelor of Fine Arts
                          College of Design, Architecture, Art, and Planning; University of Cincinnati
                             Concentration in Drawing, Minor in Biology




                                                     phone:   1111111111 · mobile: 11111111•



                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4850
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                                             IN THE COURT OF COMMON PLEAS                      't

                                                  BUTLER COUNTY, OHIO  , :

                       STATE OF OHIO,                                                      .           .
                                                                                        • ji     j 1   !   '   ~
                             Plaintiff,                                    Case No. C~f9'83fl~-o6,t~t

                       vs.



                       VON CLARK DAVIS                                     Judge Nastoff

                             Defendant.




                                          DEFENDANT'S SUPPLEMENTAL ANSWER
                                              TO REQUEST FOR DISCOVERY



                                    NOW COMES Defendant, by and through his undersigned counsel, and,
                       responding to the State's Motion for Discovery, responds as follows:

                       A. DOCUMENTS AND TANGIBLE OBJECTS, CRIMINAL RULE t6(C)(t)(a):

                             1. Certified copy of birth certificate of Nicholas Elliot Davis
                             2. Certified copy of death certificate of Charles Richard Flowers
                             3· Certified copy of death certificate of Milton Flowers

                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence. ·


                       B.    REPORTS       OF    EXAMINATIONS           OR TESTS,        CRIMINAL              RULE
                       t6(B)(t)(d):


                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
Repper, Pagan,         by the State in its Answers of Discovery. Defendant reserves the right to supplement
Cook, Ltd .
A ttorneys at Law
                       this response upon identification of additional evidence.
1501 First A venue
Middletown, OH 45044
Phone: 5 13.424.1823
FAX: 5 13.424.3 135




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
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                       C. WITNESSES' NAMES AND ADDRESSES, CRIMINAL RULE t6(C)(l)(c):




                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                                                                     Respectfully submitted,



                                                                    '1f},ok~,        ~
                                                                     Me ynda oak-Reich (SC# oo66596)
                                                                     REPPER, PAGAN, COOK
                                                                     Attorney for Defendant
                                                                     1501 First Avenue
                                                                     Middletown, OH 45044
                                                                     (513) 424-1823 ; Fax (513)424-3135


                                                                     and



                                                                    '~Qj~~
                                                                     Randall Porter (SC#ooo5835)
                                                                     Assistant State Public Defender
                                                                     Office of the Ohio Public Defender
                                                                     250 East Broad Street, Suite 1400
                                                                     Columbus, Ohio 43215
                                                                     (614) 466-5394 (Voice)
                                                                     (614) 644-0703 (Facsimile)
                                                                     PorterR@OPD.state.OH. US


                                                                     COUNSEL FOR VON CLARK DAVIS



Repper, Pagan,
Cook, Ltd.
Attorneys at Law
ISO l First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135




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                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
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                                                   CERTIFICATE OF SERVICE

                                     I hereby certify that a true copy of the foregoing was delivered via hand

                        delivery to Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and

                        Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving same at

                        the Office of the Butler County Prosecuting Attorney, n th Floor, 315 High Street ,

                        Hamilton, Ohio 45011, on this day August   3 I ,2009.
                                                                        ~~\_ ~
                                                                       Melynda C k-Re1ch (SC# oo66596)




Repper, Pagan,
Cook, Ltd.
Attorneys at Law
150 I First Avenue
Middletown. OH 45044
Phone: 5 13.424. 1823
FAX: 5 13.424.3 135




                                                                   3



                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4853
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                          SENCE OF ODH WATERMARK              HOLD                GHT TO   VIEW




                   ·~.




                                           , . Ohio Departmenl Of Health
                                              ·   VllAL:ST
                                         CERTIFICATE




                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 4854
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                                                                                                                                           CASE NO. 2:16-cv-00495
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WITU              RECORD ON FILE IN tHE DIVlS!ON OF VITAL RECORDS
IMPRESSED
SEAL
DATE ISSUED:

 ~~n J. i ltlUS




                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 4856
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                      BUTLER COUNTY SHERIFF'S OFJ~]9f                 Fll f·
                               RET U RN OF CR I MINAL SUBPOENA IMAG~&      . 41
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                                                                                                     ,, ,t\U !;_ JOr![S
        STATE OF OHIO                                                        CASE NUMBER: CR 1983 12 0614

         vs.
                                                                             DATE ISSUED: August 19. 2009
         VON C LARK DAVIS


         COURT DATE : 09/08/09 THROUGH 09/ 11 /09


        W ITNESS INFORMATION:
        Name: ELLIOT BUTCH DAVIS
        Address: · · · · · ·
                 HAMILTON. OH 450 1 I


        S HE RIFF 'S INSTRUCTIONS :      This Subpoena is required to be personally served upon the parry
                                         named above.

        DOCUMENT E D ATTEMPTS AT~E RVI CE:                        f'' r18   PE RSONAL SERVICE:
             Date:        AUG 212009
                                J-1()'21)  ~"~ 11                           S ignature: _ _ _ _ _ __ _ _ __
             Date :_ _ __ _ __ _ _ __ _
             Date: _ __ __ __ _ __ __

        PERFECTED SERVICE:                         I" ~   -   -             ALTER NATE SUBJ ECT SERVE D:
                D<~te :                   Ti me:                            Signature: _ _ _ _ _ _ _ _ __ _
                                                                            Pri nted Name: _ _ _ _ _ _ _ __
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              Reason for fai lure:                        Adduss            l /)tJes     ,t. /oT [X:/ST

        SHERIFF'S FEES:          ·7 OQ
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              Return of Service:&;      CjU
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                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                             CASE NO. 2:16-cv-00495
                                                                                              APPENDIX - Page 4857
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               CINDY CARPENTER                                                    CLERK OF COURTS



         WITNESS:
         ELLIOT B UTCH DAVIS

                                   450 11



         Da te :   August 19. 2009                             Case No.: CR 1983 12 06 14
                                             STAT E OF OH IO VS VON C LARK DAVIS


                        S U 8 P 0 E N A SE R V E D B Y B U T L E R C 0 . S H E R I F F
                   C 0 U R T 0 F C 0 M M 0 N P L E A S, 8 U T L E R C 0 U N T Y , 0 H J 0

         TY PE OF S UBPO EN A: C R

         To the above named Witness: Yo u are he re by co mmanded to appear in the Common P leas Co urt of Butler
         County O hio at the Governme nt Services Center. 315 Hi gh Street, 3RD F loor. Hamilto n, Ohio 450 ll .

                   DA TE: OY/08/09 T HROUG H 09/ 11 /09                                     T IME: 9:00AM UNTIL
                                                                                     RELEAS ED BY ATTORN EY
                   JU D GE: NASTOFF

        You are requ ired to atte nd and g ive testimony o n beha lf of the plaintiff/de fend ant in th e a bove c aptioned
        case under pe na lty of law.

        To a pply for pay men t fo r your services as a wi tness after testimo ny, bring this subpoena to the office of the
        Butk r County Clerk of Courts .

        C INDY CARPENTER                                                     REQUESTING ATTORNEY :
         Butle r Coun ty C le rk of Courts                                   NAM E: M EL YNDA COOK -REICH
                                                                             ADDR ESS: 150 1 FI RST AVE
                                                                             CIT Y& STATE: MIDDLETOWN Oil
                                                                             ZIP: 45044
                                                                             PHONE: (513)424-1823 FAX (5 13)424-3135
         By: KAT HY H ERAL I)
         Deputy C le rk

                                                      WITNESS CERTIFICATION
        I attest that I a ppeared to g ive testimony in th e above captio ned ca se. I wa s present in the Court of Co mmo n
        Pleas for             da ys. As an o ut of co unty witness. I traveled               miles fro m th e c ity of
        _ _ __ _ _ _ _ _ _ _ __ _ _ ___ in the State _ _ __ _ _ _ _ __ _ _ _ _ __
         SIGNATURE: - - - - - --              - - -- - -
                        W itness
         C000 197 158




          GOVERNM ENT SERV ICES CENT ER • 315 HIG H STR EET • SUITE 550 e H AM ILTON. O HIO 450 11 -6016

                                             BUT LER COUNTY C LERK O F COU RT S
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                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
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              C INDY CARPENTER                                                CLERK OF COURTS




         PROCESS SERVER 'S SUBPOENA COPY: PROSECUTOR 'S OFFICE




         Date :   Augus t 28, 2009                               Case No. : CR 1983 12 06 14
                                         STATE OF OHIO VS VON C LARK DAVIS


                         SU BPO ENA SE RV E D BY PRO CESS SE R VE R
                  C 0 U R T 0 F C 0 M M 0 N PLEA S, B U TL E R C 0 UN T Y, 0 HI 0


        To the Special Process Server: You are directed to serve the attached subpoe na issued by the Butle r County
        Court of Common Pleas.

        Please serve upon the fo llowing party;




        CJNDY CARPENTER
         Butler County Clerk of Courts


        By:S HONDA ERTEL
        Deputy Clerk




                                                                                   Re turn and Service _ _ _ __


        Sl                                                                         TOTA L FEES      $ ________




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                                                                                             CASE NO. 2:16-cv-00495
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                                                                                                                 lMAGEO
              CINDY CARPENTER                                                           CLERK OF CO U RTS




         PROCESS SERVER'S SUBPOENA COPY: PROSECUTOR'S OFFICE




         Date:    August 28. 2009                              Case No.: CR 1983 12 0614
                                        STATE OF OHIO YS YON CLARK D AVI S


                         SUB PO ENA S ERV E D B Y PRO CESS SE R VE R
                  C 0 U R T 0 F C 0 M M 0 N PL EA S, B U T L E R C 0 U NT Y, 0 H I 0


        To the Special Process Server: You are directed to serve the attached subpoena issued by the Butler County
        Court of Common Pleas.

         P lca~c ~erve upon the following party:


                            Dr JOSEPH H 13RANDABUR
                            BUTLER COUNTY CORONER'S OFFICE
                            200 N "F" STREET
                            HAMILTON, OH 450 11

        CINDY CARPENTER
        Butler County Clerk of Courts


        By: SHONDA ERTEl.
        Deputy Clerk




                                                                                            Return and Service _ _ __


        SIG                                                                                 TOTAL FEES    $_   _ __


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         GOVERNMENT SERVICES CENTER e 315 HIGH STREET -\6lWrlTE 550 e HAMILTON. O HIO 4501 1-6016

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                                                                                                     CASE NO. 2:16-cv-00495
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               CINDY CA RPENTER                                            CLERK OF COURTS




         PROCI,'SS SER VE/l'S SUBPOENA COPY: PROSECUT OR 'S OFFICE




         D<J te:   August 28, 2009                              Case No. : CR 1983 12 06 14
                                         STATE OF OHIO YS YON CL A RK D A V IS


                            SU BPO ENA SE R VE D B Y PRO CESS SE R VE R
                   C 0 l l R T 0 F C 0 M M 0 N PL EAS, B UTLE R C 0 UN T Y, 0 H I 0


         To the Special Process Server: You are directed to serve the attached subpoena i ssued by the Butler County
         Court or Common Pleas.

         Please serve upon the fol lowing p an y:

                            C HARLES R FURMON

                             HAM ILTON. OH 450 13

        CINDY CARPENTER
         Butler County Clerk of Court>


         By: SHONDA ERTEL
         Deputy C lerk




                                                                                                   $ _ __       _




         GOVERNM ENT SERVICES CENTER • 3 I 5 HIGH STREET • SUITE 550 •                HAMILTON. OHIO 450 11-6016




                                                                                      VON CLARK DAVIS v. WARDEN
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